Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 1 of 61




            EXHIBIT 3
         DECLARATION OF FREDRIC W. PRICE


       United States of America v. State of Idaho et al.
               Case No. 1:22-cv-00236-DCN
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        Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 2 of 61
                                                                           DISTRICT COURT-sRM ..
                                                                            fifth Judicial Dislrict
                                                                            of Twin Falls • Sta of ldlllo




Names of Parties Servin& Document:

UNITED STATES OF AMERICA                             SEE ATT ACHMENT #1

Attorneys' Names and Addresses:

THOMASL. SANSONETTI                                  NORMAN M. SEMANKO
United States Department of Justice                  TRAVIS L. THOMPSON
Assistant Attorney General                           Barker Rosholt & Simpson LLP
Environment and Natural Resources Division           205 N. 10th Street, Suite 520
                                                     P.O. Box 2139
DAVID L. NEGRI                                       Boise, Idaho 83701-2139
LARRY A. BROWN                                       (208) 336-0700
United States Department of Justice                  ISB # 4761 (NMS)
Environment and Natural Resources Division           ISB # 6168 (TLT)
General Litigation Section
550 West Fort Street, MSC 033
Boise, Idaho 83724
(208) 331-5943

      IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE
          STATE OF IDAHO, IN AND FOR THE COUNTY OF TWIN FALLS

InRe SRBA                                        )   Subcase Numbers: See Exhibit A, B, C,
                                                 )   andE
                                                 )
Case No. 39576                                   )   STIPULATION AND JOINT MOTION
                                                 )   FOR ORDER APPROVING
                                                 )   STIPULATION

                                 DESCRIPTIVE SUMMARY

       This document is the Stipulation and Joint M otion for Order Approving Stipulation, filed

by the United States of America ("United States") and the private parties listed on Attachment #1

("Private Parties").



STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page I
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                                                        STIPULATION

                     The United States and the Private Parties (collectively "Parties"), by and through their

              respective undersigned counsel, hereby stipulate and agree as follows as to the water right

              numbers listed on Exhibits A, B, C, D, E, and F, and the water right claims to be filed in the

              grazing allotments listed on Exhibit G (individually, "Water Right" or, collectively, "Water

              Rights"):

                     1. WITHDRAWAL OF OBJECTIONS AND RESPONSES BY PRIVATE PARTIES.

              The Private Parties agree to dismiss with prejudice their objections and responses to the Water

              Rights listed on Exhibit A. The Parties agree and stipulate that the elements of each Water Right

              listed on Exhibit A should be decreed as described in Section 5, below.

                     The Private Parties agree to dismiss with prejudice their objections and responses to the

              Water Rights listed on Exhibit B, and to withdraw any motions or court filings which attempt to

              set aside partial decrees for stockwater rights held by the United States, as listed in Exhibit C.

              The Private Parties further agree that they will not challenge any other partial decree issued to the

              United States in the SRBA for stockwater purposes.

                     2. WITHDRAWAL OF OBJECTIONS BY UNITED STATES.                         The United States

              agrees to dismiss with prejudice its objections to the Water Rights listed on Exhibit E. The

              Parties agree and stipulate that the elements of each Water Right listed on Exhibit E should be

              decreed as described in Section 5, below.

                     3. CLAIMS NOT YET REPORTED. The Parties have a number of pending stockwater

              claims that have not yet been reported by IDWR ("unreported claims"). Such unreported claims


              STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 2
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              are listed on Exhibits D and F. The Parties agree and stipulate that the elements of the

              unreported claims should be decreed as described in Section 5, below. The Parties agree that

              they will not file objections or responses to the entry of partial decrees for the claims listed on

              Exhibit D and F if the elements of such claims conform to the provisions described in this

              Stipulation.

                     4. CLAIMS NOT YET FILED. The Private Parties have a number of stockwater claims

              that have not yet been filed with IDWR ("unfiled claims"). The name of the claimant and the

              grazing allotments in which these unfiled claims are located are listed on Exhibit G.

              Notwithstanding the provisions of Section 8 below, the Parties agree that they will not oppose the

              filing of the claims so long as they are made by the claimants and within the allotments identified

              in Exhibit G. Moreover, although the United States retains the right to file objections to

              individual elements of the claimed water right in order to ensure compliance with this Stipulation

              and to ensure consistency with the overlapping or competing claims of the United States, it will

              not object to the claims on the basis that they contain points of diversion or places of use on

              federal lands and it will not object to the priority date or the purpose of use so long as those

              elements conform to the provisions described in this Stipulation. In addition, the Parties agree

              that such claims shall be filed no later than December 31, 2002, and that in no event shall any

              stockwater claims be filed in the SRBA on the federal lands underlying the grazing allotments

              listed on Exhibit G after such date except by agreement between the United States and any

              affected Private Parties.




              STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 3
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               5. WATER RIGHT DESCRIPTIONS. The Parties agree and stipulate that the water

        right claims listed on Exhibits A, D, E, and F, and the water right claims to be filed pursuant to

        Section 4 above, shall be decreed consistent with the following:

               A.      Priority Dates.

                       i. Claims for which the United States has not yet received a partial decree. If the

                       United States has not yet received a partial decree for a water right claim, the

                       following shall apply. For claims on lands administered by the Bureau of Land

                       Management, the United States shall receive a water right with a priority date

                       which is the later of a) the claimed priority date orb) June 28, 1934. For claims

                       on lands administered by the Forest Service, the United States shall receive a

                       water right with a priority date which is the later of a) the claimed priority date or

                       b) the date of the federal reservation of such lands. On Forest Service lands, the

                       federal reservation date for claims on what is presently the Sawtooth National

                       Forest is June 12, 1905, and the federal reservation date for claims on what is

                       presently the Nez Perce National Forest is May 10, 1906. The overlapping or

                       competing claims of the Private Parties shall have a priority date that is one-day

                       senior to the United States' priority date, unless the Private Parties can provide a

                       patent or deed for their "base property," as such term is defined in 36 C.F.R. §

                       222.1 and 43 C.F.R. § 4100.0-5, that precedes this date, in which case the Private

                       Parties shall receive a priority date that is this more senior date.

                       ii. Claims for which the United States has received a partial decree for an

                       undeveloped source. If the United States has received a partial decree for a water


        STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 4
        ......         Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 6 of 61

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                             right claim and the source is undeveloped (i.e., instream or an undeveloped

                             spring), the Private Parties' water rights shall be decreed as described in the last

                             sentence of section SA(i) above.

                             iii. Claims for which the United States has received a partial decree for a

                             developed source. If the United States has received a partial decree for a water

                             right claim and the source is developed, the overlapping or competing claims of

                             the Private Parties shall have a priority date that is one-day junior to that of the

                             United States' priority date as described in the decree. However, if the Private

                             Parties can provide 1) evidence of stockwatering use of the water source

                             preceding the priority date of the United States' decree, and 2) a patent or deed for

                             their "base property," as such term is defined in 36 C.F.R. § 222.1 and 43 C.F.R. §

                             4100.0-5, that is at least as senior as the water use date, the Private Parties'

                             priority date shall be the water use date. Moreover, if the priority date of the

                             United States' decree is based on beneficial use and such date significantly

                             predates the date of the development, the overlapping or competing claims of the

                             Private Parties shall have a priority date that is one-day senior to that of the United

                             States' priority date.

                             iv. Claims for which the United States has a Public Water Reserve 107

                             reservation. If the United States has a claim or a decree for a spring under Public

                             Water Reserve 107 ("PWR 107''), the overlapping or competing claims of the

                             Private Parties shall have a priority date that is one-day junior to that of the United

                             States' priority date, unless the Private Parties can provide 1) evidence of


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                                stockwatering use of the water source preceding the United States' priority date,

                                and 2) complete chain-of- title documentation for their "base property," as such

                                term is defined in 36 C.F.R. § 222.l and 43 C.F.R. § 4100.0-5, that is at least as

                                senior as the water use date, in which case the Private Parties' priority date shall

                                be the water use date.

                        B.      Putpose and Place of Use of Water Rights. The Parties agree that the purpose of

                                use of the Water Rights listed on Exhibit E and Exhibit F, and the water right

                                claims to be filed pursuant to Section 4 above, is only for the watering of livestock

                                lawfully within a permitted federal grazing allotment and that the number of

                                livestock within the allotment shall not exceed the amount authorized by a federal

                                grazing permit. The Parties agree that the purpose of use of the state-law based

                                Water Rights listed on Exhibits A, C and Dis only for the watering of livestock

                                lawfully within a permitted federal grazing allotment. The Parties further agree

                                that the place of use of the state-law based Water Rights listed on Exhibits A, C,

                                D, E and F, and the water right claims to be filed pursuant to Section 4 above,

                                shall remain in situ.

                        6. CONFORMING DOCUMENTS. The Parties agree that they will execute and file any

                 necessary documents with the SRBA Court and IDWR to conform the elements of the claims

                 listed on Exhibits A, D, E, and F, and the water right claims to be filed pursuant to Section 4

                 above, to the provisions described in this Stipulation.

                        7. GRAZING PERMITS AND MANAGEMENT OF FEDERAL LANDS. The Parties

                 agree that the Water Rights listed on Exhibits A, C, D, E and F, and the water right claims to be


                 STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 6
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                   Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 8 of 61




           filed pursuant to Section 4 above, shall not alter the rights of a permittee under a valid grazing

           permit nor impede the authority of the United States to manage federal lands.

                  8. NO FURTHER CLAIMS. The Private Parties agree that they will not file additional

           claims in the SRBA for water rights where the place of use or point of diversion is located on

           federal lands and the United States agrees that it will not file additional claims in the SRBA for

           water rights where the place of use or point of diversion is located on federal lands underlying

           the federal Grazing Allotments on which any of the Private Parties are grazing permittees, except

           by agreement between the United States and any affected Private Parties. This paragraph shall

           not affect or apply to any claims already filed in the SRBA by any Party as of the effective date

           of this Stipulation, nor shall it apply to the claims to be filed pursuant to Section 4 above.

                  9. APPROVAL OF STIPULATION AND ISSUANCE OF PARTIAL AND FINAL

           DECREES BY COURT. The Parties agree to support the Joint Motion for Order Approving

           Stipulation set forth below. If for any reason the Court does not approve the Stipulation and

           issue partial and final decrees for any of the Water Rights on the attached Exhibits pursuant to

           the terms of this Stipulation, this Stipulation is null and void and shall have no effect, and the

           Parties shall proceed with a determination of their water rights and/or objections under applicable

           law.

                   10. STIPULATION NOT TO BE USED AGAINST THE PARTIES. The Parties agree

           that this Stipulation has been entered into based upon good faith negotiations for the purpose of

           resolving legal disputes, including pending litigation, by compromise and settlement and that

           nothing in this Stipulation, or any offers or compromises made in the course of negotiating this

           Stipulation, shall be construed as admissions against interest or tendered or used as evidence to


           STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 7
....           Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 9 of 61




       show the validity or invalidity of any water right claims made by the Parties, or as an admission

       or concession of wrongdoing or liability, or shall be used in any manner by any party in the

       SRBA in any future proceedings in the SRBA, in any appellate proceedings concerning the

       SRBA, or in any other proceeding, other than those seeking approval of this Stipulation by the

       SRBA Court, for interpretation or enforcement of this Stipulation, or for a purpose contemplated

       by Idaho Rule of Evidence 408.

               11. RESERVATIONS. The Parties agree that this Stipulation has been entered into

       based upon good faith negotiations for the purpose of resolving legal disputes, including pending

       litigation, by compromise and settlement and that nothing herein shall be construed as precedent

       in any other proceeding or context. Nothing in this Stipulation shall be construed to deprive any

       federal official of authority to revise, amend, or promulgate regulations. Nothing in this

       Stipulation shall be construed to commit any federal official to expend funds not appropriated by

       Congress.

               12. VOLUNTARY EXECUTION. This Stipulation was entered into and executed

       voluntarily by the Parties in good faith, and without any fraud, misunderstanding, overreaching,

       misrepresentation, duress, or undue influence.

               13. BINDING EFFECT. This Stipulation shall be binding on any and all successors,

       assigns, heirs, executors, and administrators of each of the Parties.

               14. COSTS AND ATTORNEY FEES. Each Party shall bear their own costs and

       attorney fees.

               15. EFFECTIVE DATE. This Stipulation shall become effective upon execution by all

       of the Parties.


       STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 8
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                    JOINT MOTION FOR ORDER APPROVING STIPULATION

            The United States and the Private Parties request the Court to approve the foregoing

     Stipulation. The Order sought by this motion is fully in accordance with Idaho law. Such an

     Order would serve not only to facilitate the settlement between the United States and the Private

     Parties, thus streamlining the process, but would very likely have the effect of encouraging future

     settlements in the SRBA. The provisions of Idaho Rule of Evidence 408, as well as the policy

     underlying that rule and the policy of the SRBA Court, are directed at furthering the strong public

     policy favoring out-of-court settlement of disputes over litigation.

            Wherefore, the United States and the Private Parties respectfully request that this Court

     grant this motion in all respects. The United States and the Private Parties further request oral

     argument and expedited consideration of this matter.




     STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 9
             ...         Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 11 of 61
..
     '   -
                   DATED this 28th day of August, 2002.




                   v~~-~
                   David L. Negri
                   Larry A. Brown                               Travis L. Thompson
                   United States Department of Justice          Barker, Rosholt & Simpson LLP

                   Attorneys for the United States of America   Attorneys for the following Parties:

                                                                Western Stockgrowers Association et al.
                                                                Broken Diamond Ranch
                                                                Brown, Birchie
                                                                Brown, Wallace
                                                                Butler, Raymond
                                                                Crockett, David
                                                                Kinsey Family LLP
                                                                Kunkel, Tom
                                                                Mathers Ranch
                                                                Tugaw Ranches
                                                                Williams, Inc.
                                                                Williams Properties LLC
                                                                William J & Thomas Williams

                                                                A.L. Cattle, Inc.
                                                                Bedke Family Limited Partnership
                                                                Bedke, Scott
                                                                Bedke, Karl U.
                                                                Bedke, Ray C.
                                                                Bowen, Todd
                                                                Branch, Weldon
                                                                Crater Butte Cattle Association
                                                                Diamond A Livestock, Inc.
                                                                DeVeny, Willis
                                                                DeVeny, Betty
                                                                Eckhardt Family Limited Partnership
                                                                Eckhardt, James
                                                                Eckhardt, Nellie
                                                                Faulkner Land & Livestock Company
                                                                Flying Triangle Inc.


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                                  '-'                                       ...,,
                                                        Gardner, Luther
                                                        Lawrence Ranch Inc.
                                                        Lawrence, Ron
                                                        Layton, Eugene
                                                        Mathews, Bill J.
                                                        Mathews, Eugene
                                                        Pickett Ranch and Sheep Company
                                                        Poulton, Michael
                                                        Poulton, Gary
                                                        Richfield Cat1le Association
                                                        Shingle Creek LLC
                                                        Shoulder Three Ranches Inc.
                                                        Tugaw, Joe
                                                        Wan·, Keith
                                                        Whiteley, Winslow
                                                        Winecup, Inc.




                                                       U.~Au                        7
                                                       Willis DcVeny         ~
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                                                       Betty DeVeny




          STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 11




                                                                                    **   TOTAL PAGE.03     **
                 Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 13 of 61
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    ' I




          State of Idaho         )
                                 ) ss.
          County of Ada          )

                 DAVID L. NEGRI, duly sworn, upon oath, deposes and says:

          That I am the party filing this Stipulation, and/or that I am the attorney for the party, and that I
          have read this Stipulation, know its contents and believe that the statements are true to the best of
          my knowledge.

                                                        ~d',&.
                                                        David L. Negri     -~
                                                        United States Department of Justice
                                                        Environment and Natural Resources Division
                                                        General Litigation Section
                                                        550 West Fort Street, MSC 033
                                                        Boise, Idaho 83 724
                                                        (208) 331-5943

                                                        Counsel for the United States of America


          Subscribed and sworn before me on: _ _     fl_u_6'__,?_B-1_Z_t>_O._))...
                                                                             _____



                                         Notary Public for:
                                         Residing at:        Kuna, Idaho
                                         Commission expires: 11-17-2004




          STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 12
                Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 14 of 61
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    'a




         State of Idaho         )
                                ) ss.
         County of Ada          )

                NORMAN M. SEMANKO, duly sworn, upon oath, deposes and says:

         That I am the party filing this Stipulation, and/or that I am the attorney for the party, and that I
         have read this Stipulation, know its contents and believe that the statements are true to the best of
         my knowledge.


                Dated     qi_~/o k
                          /      I



                                                       No an M. Semanko, E
                                                       Barker Rosholt & Simpson LLP
                                                       205 N. 101h Street, Suite 520
                                                       P.O. Box 2139
                                                       Boise, Idaho 83701-2139
                                                       Counsel for the Private Parties



                Subscribed and sworn before me on:        11tt Ir -2 f,   ~0 ~


                                                            (name of notary)
                                        Notary Public for:  Idaho
                                        Residing at:        j:::u µ A- 7/0 lt'Hv
                                        Commission expires:    I/ - 17,.il ()I) '-f




         STIPULATION AND JOINT MOTION FOR ORDER APPROVING STIPULATION - Page 13
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'   .
           State ofldaho          )
                                  ) ss.
           County ofldaho         )

                   WILLIS DEVENY and BETTY DEVENY, duly sworn, upon oath, deposes and says:

           That we are the parties filing this Stipulation, and that we have read this Stipulation, know its
           contents and believe that the statements are true to the best of our knowledge.

                  Dated~                  22 2412--
                                                                  fta«
                                                                 Willis DeVeny
                                                                               S! ~ ( 4 ~
                                                                 P.O. Box 1160
                                                                 Riggins, Idaho 83549

                  Subscn'bcd and sworn before me on:       ~ ::Z               2        2 cJO 2-

                                                                   ~ (l k
                                                                 (name of notary)
                                           Notary Public for:    I~o '·        -
                                                                          ~
               .---------..,&"'.'!e~si~din~·~~~ expires:
                         DOLINA C. GILL
                                                                  ?hc1c. -6         1




                  (seal)NOTARY PUBLIC
                        STATE OF IDAHO

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                                                                 B~y
                                                                 P.O. Box 1160
                                                                                                   r·
                                                                 Riggins, Idaho 83549

                  Subscribed and sworn before me o n : ~ . ,          ~ 7, 2            c:Jo 2..


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                  (seal)

           STIPULATION AND JOJ'NT MOTION FOR. ORDER APPROVING STIPULATION· Page 14
            Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 16 of 61
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                                     CERTIFICATE OF SERVICE

                    I HEREBY CERTIFY that on this 28 1h day of August, 2002, I served a true and
     correct copy of the foregoing STIPULATION AND JOINT MOTION FOR ORDER
     APPROVING STIPULATION, by depositing a copy thereof in the U.S. mail, postage prepaid,
     or by other service where indicated, upon the following:

     Original to:

     BY OVERNIGHT DELIVERY:
     Clerk of the Court
     Snake River Basin Adjudication
     P.O. Box 2707
     Twin Falls, ID 83303-2707

     Copies to:

     U.S. Department of Justice                       Chief, Natural Resources Division
     General Litigation Section                       Office of the Attorney General
     Environment and Natural Resource Division        State of Idaho
     550 West Fort Street, MSC 033                    P.O. Box 44449
     Boise, ID 83724                                  Boise, ID 83711-4449

     IDWR Document Depository                         David J. Barber, Deputy Attorney General
     P.O. Box 83720                                   Office of the Attorney General
     Boise, ID 83720-0098                             State of Idaho
                                                      P.O. Box 44449
     BY HAND DELIVERY:                                Boise, ID 83711-4449
     Norman M. Semanko, Esq.
     Travis L. Thompson                               Willis & Betty DeVeny
     Barker Rosholt & Simpson LLP                     P.O. Box 1160
     205 N. 10th Street, Suite 520                    Riggins, Idaho 83549
     P.O. Box 2139
     Boise, Idaho 83701-2139


                                                        OJ~ -
                                                      David N e g r i ~




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.         Case 1:22-cv-00236-DCN Document 30-4 Filed 10/07/22 Page 17 of 61



                                           Attachment 1
                                  Claimants/Objectors/Respondents



    Western Stockgrowers Association et al.          Richfield Cattle Association
    Broken Diamond Ranch                             Shingle Creek LLC
    Brown, Birchie                                   Shoulder Three Ranches Inc.
    Brown, Wallace                                   Tugaw, Joe
    Butler, Raymond                                  Warr, Keith
    Crockett, David                                  Whiteley, Winslow
    Kinsey Family LLP                                Winecup, Inc.
    Kunkel, Tom
    Mathers Ranch
    Tugaw Ranches
    Williams, Inc.
    Williams Properties LLC
    William J & Thomas Williams

    A.L. Cattle, Inc.
    Bedke Family Limited Partnership
    Bedke, Scott
    Bedke, Karl U.
    Bedke, Ray C.
    Bowen, Todd
    Branch, Weldon
    Crater Butte Cattle Association
    DeVeny, Willis
    DeVeny, Betty
    Diamond A Livestock, Inc.
    Eckhardt Family Limited Partnership
    Eckhardt, James
    Eckhardt, Nellie
    Faulkner Land & Livestock Company
    Flying Triangle Inc.
    Gardner, Luther
    Lawrence Ranch Inc.
    Lawrence, Ron
    Layton, Eugene
    Mathews, Bill J.
    Mathews, Eugene
    Pickett Ranch and Sheep Company
    Poulton, Michael
    Poulton, Gary

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                                                                  EXHIBIT A
                                                      U.S. Claims on Permittees' Allotments


                       BASIN 37                    37-02945 BLM                 37-03085 BLM       37-04224 BLM
                                                   37-02949 BLM                 37-03086 BLM       37-07128 BLM
                       37-02809 BLM                37-02950 BLM                 37-03111 BLM       37-07129 BLM
                       37-02811 BLM                37-02951 BLM                 37-03113 BLM       37-07131 BLM
                       37-02813 BLM                37-02954 BLM                 37-03118 BLM       37-07132 BLM
                       37-02817 BLM                37-02956 BLM                 37-03119 BLM       37-07317 BLM
                       37-02821 BLM                37-02959 BLM                 37-03122 BLM       3 7-07969 BLM
                       37-02830 BLM                37-02966 BLM                 37-03123 BLM       37-07982 BLM
                       37-02836 BLM                37-02968 BLM                 37-03124 BLM       37-08017 BLM
                       37-02837 BLM                37-02975 BLM                 37-03125 BLM       37-08018 BLM
                       37-02848 BLM                37-02976 BLM                 37-03127 BLM       37-08019 BLM
                       37-02851 BLM                37-02977 BLM                 37-03128 BLM       37-08020 BLM
                       37-02852 BLM                37-02979 BLM                 37-03129 BLM       37-08022 BLM
                       37-02856 BLM                37-02980 BLM                 37-03133 BLM       37-08023 BLM
                       37-02867 BLM                37-02981 BLM                 37-03134 BLM       3 7-08024 BLM
                       37-02872 BLM                37-02994 BLM                 37-03147 BLM       37-08052 BLM
                       37-02884 BLM                37-03000 BLM                 37-03159 BLM       37-08187 BLM
                       37-02885 BLM                37-03002 BLM                 37-04177 BLM       37-08188 BLM
                       37-02886 BLM                37-03003 BLM                 37-04178 BLM       37-08191BLM
                       37-02887 BLM                37-03004 BLM                 37-04180 BLM       37-08242 BLM
                       37-02896 BLM                37-03005 BLM                 37-04181 BLM       37-08243 BLM
                       37-02914 BLM                37-03006 BLM                 37-04182 BLM       37-08311 BLM
                       37-02915 BLM                37-03007 BLM                 37-04183 BLM       37-08319 BLM
                       37-02917 BLM                37-03008 BLM                 37-04195 BLM      ~1-ltE6~ OLM
                       37-02918 BLM                37-03009 BLM                 37-04196 BLM       37-14397 BLM
                       37-02919 BLM                37-03010 BLM                 37-04200 BLM       37-14398 BLM
                       37-02920 BLM                37-03011 BLM                 37-04201 BLM       37-14417 BLM
                       37-02921 BLM                37-03013 BLM                 37-04202 BLM       37-14418 BLM
                       37-02922 BLM                37-03015 BLM                 37-04206 BLM       37-14419 BLM
                       37-02923 BLM                37-03023 BLM                 37-04207 BLM       37-14422 BLM
                       37-02924 BLM                37-03024 BLM                 37-04209 BLM       37-14423 BLM
                       37-02928 BLM                37-03027 BLM                 37-04210 BLM       37-14425 BLM
                       37-02929 BLM                37-03037 BLM                 37-04211 BLM       37-14426 BLM
                       37-02930 BLM                37-03038 BLM                 37-04212 BLM       37-14427 BLM
                       37-02934 BLM                37-03044 BLM                 37-04213 BLM       37-14428 BLM
                       37-02935 BLM                37-03055 BLM                 37-04215 SLM       37-14429 SLM
                       37-02936 SLM                37-03058 BLM                 37-04219 SLM       37-14430 SLM
                       37-02955 BLM                37-03059 BLM                 37-04220 SLM       37-14431 BLM
                       37-02937 BLM                37-03065 SLM                 37-04221 SLM       37-14432 SLM
                       37-02942 BLM                37-03084 SLM                 37-04223 BLM       37-14433 BLM

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                           37-14434 BLM                37-17640 BLM                            37-18024 BLM   37-18334 BLM
                           37-14435 BLM                37-17643 BLM                            37-18025 BLM   37-18349 SLM
                           37-14436 BLM                37-17655 BLM                            37-18026 BLM   37-18355 BLM
                           37-14437 BLM                37-17656 SLM                            37-18027 BLM   37-18357 BLM
                           37-14443 BLM                37-17657 BLM                            37-18047 BLM   37-18358 BLM
                           37-14445 BLM                37-17659 BLM                            37-18049 BLM   37-18359 BLM
                           37-14447 BLM                37-17660 SLM                            37-18050 BLM   37-18360 BLM
                           37-14449 SLM                37-17672 SLM                            37-18051 BLM   37-18460 SLM
                           37-14454 SLM                37-17673 BLM                            37-18062 BLM   37-18461 BLM
                           37-14455 SLM                37-17676 BLM                            37-18069 BLM   37-18462 SLM
                           37-14456 BLM                37-17677 BLM                            37-18071 BLM   37-18463 BLM
                           37-14457 BLM                37-17679 SLM                            37-18072 BLM   37-18464 SLM
                           37-14458 BLM                37-17680 BLM                            37-18083 SLM   37-18480 BLM
                           37-14460 BLM                37-17681 BLM                            37-18084 BLM   37-18483 SLM
                           37-14461 BLM                37-17684 BLM                            37-18085 BLM   37-18485 BLM
                           37-14466 BLM                37-17687 BLM                            37-18086 BLM   37-18486 BLM
                           37-15169 BLM                37-17688 BLM                            37-18087 BLM   37-18487 BLM
                           37-15186 BLM                37-17692 BLM                            37-18088 BLM   37-18488 BUvf
                           37-16481 BLM                37-17693 BLM                            37-18091 BLM   37-18489 BLM
                           37-16557 BLM                37-17694 SLM                            37-18092 BLM   37-18490 BLM
                           37-16894 BLM                37-17696 BLM                            37-18093 BLM   37-18491 BLM
                           37-17222 BLM                37-17702 BLM                            37-18102 BLM   37-18492 BLM
                           37-17223 BLM                37-17703 BLM                            37-18103 BLM   37-18512 BLM
                           37-17225 BLM                37-17704 BLM                            37-18117 BLM   37-18513 BLM ·
                           37-17226 BLM                37-17705 BLM                            37-18119BLM    37-18516 BLM
                           37-17286 BLM                37-17706 BLM                            37-18129 BLM   37-18518 BLM
                           37-17326 BLM                37-17717 SLM                            37-18135 BLM   37-18519BLM
                           37-17327 BLM                37-17720 BLM                            37-18136 BLM   37-18522 BLM
                           37-17329 BLM                37-17739 BLM                            37-18191 BLM   37-18525 BLM
                           37-17330 BLM                37-17740 BLM                            37-18192 BLM   37-18527 BLM
                           37-17331 BLM                37-17742 BLM                            37-18193 BLM   37-18529 BLM
                           37-17332 BLM                37-17760 BLM                            37-18225 BLM   37-18532 BLM
                           :H I :;z,oe QbM••           37-17979 BLM                            37-18226 BLM   37-18533 BLM
                           37-17616 BLM                37-17984 BLM                            37-18228 BLM   37-18534 BLM
                           37-17618 BLM                37-18006 BLM                            37-18230 BLM   37-18535 BLM
                           37-17621 BLM                37-18008 BLM                            37-18260 BLM   37-18536 BLM
                           37-17622 BLM                37-18009 BLM                            37-18261 BLM   37-18543 BLM
                           37-17623 BLM                37-18017 BLM                            37-18262 BLM   37-18545 BLM
                           37-17633 BLM                37-18020 BLM                            37-18302 BLM   37-18547 BLM
                           37-17639 BLM                37-18022 BLM                            37-18303 BLM   37-18551 BLM

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             37-18552 BLM                37-18745 BLM                 37-18897 BLM               37-19488 BLM
             37-18553 BLM                37-18746 BLM                 37-18900 BLM               37-19489 BLM
             37-18563 BLM                37-18747 BLM                 37-18901 BLM               37-19490 BLM
             37-18565 BLM                37-18763 BLM                 37-18902 BLM               37-19497 BLM
             37-18571 BLM                37-18765 BLM                 37-18905 BLM               37-19498 BLM
             37-18572 BLM                37-18766 BLM                 37-18907 BLM               37-19499 BLM
             37-18574 BLM                37-18786 BLM                 37-18909 BLM               37-19515 BLM
             37-18575 BLM                37-18787 BLM                 37-18911 BLM               37-19518 BLM
             37-18576 BLM                37-18789 BLM                 37-18912 BLM               37-19519 BLM
             37-18577 BLM                37-18790BLM                  37-18946 BLM               37-19520 BLM
             37-18578 BLM                37-18791 BLM                 37-18962 BLM               37-19521 BLM
             37-18579 BLM                37-18792 BLM                 37-18967 BLM               37-19524 BLM
             37-18580 BLM                37-18806 BLM                 37-18968 BLM               37-19525 BLM
             37-18588 BLM                37-18814 BLM                 37-18969 BLM               37-19530 BLM
             37-18590 BLM                37-18818 BLM                 37-18974 BLM               37-19531 BLM
             37-18594 BLM                37-18822 BLM                 37-19090 BLM               37-19532 BLM
             37-18595 BLM                37-18824 BLM                 37-19107 BLM               37-19533 BLM
             37-18604 BLM                37-18826 BLM                 37-19164 BLM               37-19534 BLM
             37-18609 BLM                37-18827 BLM                 37-19165 BLM               37-19535 BLM
             37-18613 BLM                37-18833 BLM                 37-19167 BLM               37-19536 BLM
             37-18614 BLM                37-18835 BLM                 37-19185 BLM               37-19538 BLM
             37-18629 BLM                37-18840 BLM                 37-19187 BLM               37-19539 BLM
             37-18630 BLM                37-18845 BLM                 37-19205 BLM               37-19540 BLM
             37-18631 BLM                37-18847 BLM                 37-19208 BLM               37-19547 BLM
             37-18635 BLM                37-18850 BLM                 37-19210 BLM               37-19590 BLM
             37-18645 BLM                37-18853 BLM                 37-19215 BLM               37-19597 BLM
             37-18656 BLM                37-18856 BLM                 37-19267 BLM               37-19600 BLM
             37-18658 BLM                37-18859 BLM                 37-19325 BLM               37-19616 BLM
             37-18698 BLM                37-18860 BLM                 37-19401 BLM               37-19629 BLM
             37-18702 BLM                37-18868 BLM                 37-19409 BLM               37-19637 BLM
             37-18711 BLM                37-18873 BLM                 37-19416 BLM               37-19638 BLM
             37-18712 BLM                37-18875 BLM                 37-19417 BLM               37-19639 BLM
             37-18713 BLM.               37-18882 BLM                 37-19445 BLM               37-19640 BLM
             37-18716 BLM                37-18883 BLM                 37-19452 BLM               37-19642 BLM
             37-18718 BLM                37-18884 BLM                 37-19456 BLM               37-19644 BUvl
             37-18719 BLM                37-18885 BLM                 37-19458 BLM               37-19645 BLM
             37-18721 BLM                37-18886 BLM                 37-19460 BLM               37-19646 BLM
             37-18734 BLM                37-18888 BLM                 37-19461 BLM               37-19649 BLM
             37-18743 BLM                37-18889 BLM                 37-19462 BLM               37-19650 BLM
             37-18744 BLM                37-18890 BLM                 37-19478 BLM               37-19651 BLM

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37-19652 BLM                45-07601 BLM                 45-12111 USFS                                45-12816   BLM
37-19670 BLM                45-07611 BLM                 45-12112 USFS                                45-12827   BLM
37-20046 BLM                45-11978 USFS                45-12113 USFS                                45-12838   USFS
37-20047 BLM                45-12050 USFS                45-12114 USFS                                45-12842   USFS
37-20050 BLM                45-12053 USFS                45-12116 USFS                                45-12855   USFS
37-20051 BLM                45-1205 5 USFS               45-12127 USFS                                45-12866   USFS
37-20097 BLM                45-12056 USFS                45-12162 USFS                                45-12869   USFS
37-20148 BLM                45-12058 USFS                45-12218USFS                                 45-12871   USFS
37-20188 BLM                45-12060 USFS                45-12243 USFS
37-20189 BLM                45-12061 USFS                45-12280 USFS                                BASIN 47
37-20191 BLM                45-12073 USFS                45-12468 BLM
37-20192 BLM                45-12074 USFS                45-12511 BLM                                 47-08043 BLM
37-20207 BLM                45-12075 USFS                45-12521 BLM                                 47-14994 USFS
37-20209 BLM                45-12076 USFS                45-12524 BLM                                 47-14995 USFS
37-20212 BLM                45-12079 USFS                45-12525 BLM                                 47-14997 USFS
37-20220 BLM                45-12080 USFS                45-12526 BLM                                 47-14999 USFS
37-20221 BLM                45-12081 USFS                45-12541 BLM                                 47-15001 USFS
37-20224 BLM                45-12082 USFS                45-12543 BLM                                 47-15002 USFS
37-20230 BLM                45-12083 USFS                45-12545 BLM                                 47-15004 USFS
37-20231 BLM                45-12084 USFS                45-12549 BLM                                 47-15005 USFS
37-20233 BLM                45-12085 USFS                45-12550 BLM                                 47-15010 USFS
37-20234 BLM                45-12086 USFS                45-12551 BLM                                 47-15028 USFS
37-20235 BLM                45-12087 USFS                45-12557 BLM                                 47-15031 USFS
37-20236 BLM                45-12088 USFS                45-12560 BLM                                 47-15033 USFS
37-20237 BLM                45-12089 USFS                45-12613 BLM                                 47-15035 USFS
37-20252 BLM                45-12090 USFS                45-12654 BLM                                 47-15037 USFS
37-20259 BLM                45-12091 USFS                45-12656 BLM                                 47-15038 USFS
37-20261 BLM                45-12092 USFS                45-12658 BLM                                 47-15045 USFS
                            45-12093 USFS                45-12672 BLM                                 47-15048 USFS
BASIN 45                    45-12094 USFS                45-12675 BLM                                 47-15051 USFS
                            45-12096 USFS                45-12676 BLM                                 47-15052 USFS
45-02769 BLM                45-12097 USFS                45-12677 BLM                                 47-15054 USFS
45-02778 BLM                45-12098 USFS                45-12678 BLM                                 47-15055 USFS
45-02789 BLM                45-12099 USFS                45-12682 BLM                                 47-15056 USFS
45-0281 7 BLM               45-12101 USFS                45-12690 BLM                                 47-15058 USFS
45-02819 BLM                45-12105 USFS                45-12728 BLM                                 47-15060 USFS
45-02823 BLM                45-12106 USFS                45-12730 BLM                                 47-15061 USFS
45-07343 BLM                45-12107 USFS                45-12779 BLM                                 47-15062 USFS
45-07488 BLM                45-12108 USFS                45-12795 BLM                                 47-15063 USFS
45-07505 BLM                45-12109 USFS                45-12813 BLM                                 47-15075 USFS

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                                                                   EXHIBIT A
                                                U.S. Claims on Permittees' Allotments


47-15077 USFS                                 47-15195   USFS                      47-16648    USFS                                   67-07645 SLM
47-15082 USFS                                 47-15196   USFS                      47-16649    USFS                                   67-07646 BLM
47-15083 USFS                                 47-15197   USFS                      47-16651    USFS                                   67-07647 BLM
47-15086 USFS                                 47-15199   USFS                      47-16652    USFS                                   67-07649 SLM
47-15090 USFS                                 47-15200   USFS                      47-16655    USFS                                   67-07660 BLM
47-15091 USFS                                 47-15204   USFS                      47-16663    USFS                                   67-07672 SLM
47-15092 USFS                                 47-15205   USFS                      47-16664    USFS                                   67-12378 SLM
47-15093 USFS                                 47-16132   SLM                       47-16665    USFS                                   67-12579 SLM
47-15095 USFS                                 47-16292   SLM                       47-16666    USFS                                   67-12646 BLM
47-15106 USFS                                 47-16293   BLM                       47-16677    USFS                                   67-12648 BLM
47-15107 USFS                                 47-16300   BLM                       47-16678    USFS                                   67-12649 BLM
47-15108 USFS                                 47-16321   BLM                       47-16679    USFS                                   67-12651 BLM
47-15109 USFS                                 47-16322   BLM                       47-16680    USFS                                   67-12660 BLM
47-15110 USFS                                 47-16429   USFS                      47-16683    USFS                                   67-12661 BLM
47-15117 USFS                                 47-16433   USFS                      47-16684    USFS                                   67-12698 BLM
47-15119 USFS                                 47-16434   USFS                      47-16686    USFS                                   67-12699 BLM
47-15128 USFS                                 47-16435   USFS                      47-16687    USFS                                   67-12700 BLM
47-15131 USFS                                 47-16437   USFS                      47-16688    USFS                                   67-12701 BLM
47-15132 USFS                                 47-16438   USFS                      47-16692    USFS                                   67-12702 BLM
47-15135 USFS                                 47-16440   USFS                      47-16693    USFS                                   67-12708 BLM
47-15136 USFS                                 47-16441   USFS                      47-16694    USFS                                   67-12717 BLM
47-15137 USFS                                 47-16442   USFS                      47-16702    USFS                                   67-12718 BLM
47-15138 USFS                                 47-16443   USFS                      47-16704    USFS                                   67-12719 BLM
47-15139 USFS                                 47-16444   USFS                      47-16710    USFS                                   67-12721 BLM
47-15140 USFS                                 47-16445   USFS                      47-16721    USFS                                   67-12724 BLM
47-15142 USFS                                 47-16446   USFS                      47-16722    USFS                                   67-12781 BLM
47-15143 USFS                                 47-16447   USFS                     ---49-16'123 BLM •                                  67-12798 BLM
47-15144 USFS                                 47-16448   USFS                                                                         67-12801 BLM
47-15146 USFS                                 47-16449   USFS                      BASIN 67                                           67-12802 BLM
47-15147 USFS                                 47-16458   USFS                                                                         67-12807 BLM
47-15148 USFS                                 47-16459   USFS                      67-07076   BLM                                     67-12844 BLM
47-15149 USFS                                 47-16460   USFS                      67-07080   BLM                                     67-12846 BLM
47-15151 USFS                                 47-16461   USFS                      67-07086   BLM                                     67-12848 BLM
47-15152 USFS                                 47-16463   USFS                      67-07091   BLM                                     67-12849 BLM
47-15153 USFS                                 47-16464   USFS                      67-07095   BLM                                     67-12895 BLM
47-15155 USFS                                 47-16465   USFS                      67-07097   BLM                                     67-12896 BLM
47-15164 USFS                                 47-16466   USFS                      67-07100   BLM                                     67-12908 BLM
47-15177 USFS                                 47-16470   USFS                      67-07179   BLM                                     67-12936 BLM
47-15178 USFS                                 47-16471   USFS                      67-07643   BLM                                     67-12937 BLM
47-15179 USFS                                 47-16474   USFS                      67-07644   BLM                                     67-12938 BLM

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                                                 EXHIBIT A
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    67-12980   BLM              78-04197 USFS                78-12003   USFS
    67-12985   BLM              78-04203 USFS                78-12007   USFS
    67-12986   BLM              78-04205 USFS                78-12008   USFS
    67-12987   BLM              78-04206 USFS                78-12009   USFS
    67-12988   BLM              78-04208 USFS                78-12010   USFS
    67-12989   BLM              78-04209 USFS                78-12018   USFS
    67-13028   BLM              78-04210 USFS
    67-13030   BLM              78-04211 USFS
    67-13031   BLM              78-04212 USFS
    67-13032   BLM              78-04214 USFS
    67-13033   BLM              78-04216 USFS
    67-13035   BLM              78-04218 USFS
    67-13036   BLM              78-04219 USFS
    67-13037   BLM              78-04224 USFS
    67-13038   BLM              78-04225 USFS
    67-13040   BLM              78-04234 USFS
    67-13041   BLM              78-04238 USFS
    67-13054   BLM              78-04239 USFS
    67-13061   BLM              78-0424 7 USFS
    67-13062   BLM              78-04249 USFS
    67-13064   BLM              78-10491 USFS
    67-13067   BLM              78-10624 USFS
    67-13068   BLM              78-10626 USFS
    67-13079   BLM              78-10627 USFS
    67-13092   BLM              78-10628 USFS
    67-13187   BLM              78-10629 USFS
    67-13188   BLM              78-10630 USFS                                           •
    67-13192   BLM              78-10631 USFS
    67-13193   BLM              78-10632 USFS
    67-13194   BLM              78-10636 USFS
    67-13196   BLM              78-10637 USFS
    67-13336   BLM              78-1063 8 USFS
    67-14224   BLM              78-10648 USFS
                                78-10650 USFS
    BASIN 69                    78-10651 USFS
                                78-10652 USFS
    69-10473 BLM                78-10653 USFS
                                78-10654 USFS
    BASIN 78                    78-10655 USFS
                                78-10656 USFS

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                                             EXHIBITB
                                        Non-Permittee Objections


B32             33-10864           33-10971             37-02961           37-03072     37-07703
32-04005        33-10865           33-10972             37-02964           37-03073     37-07704
32-04015        33-10866           33-10973             37-02967           37-03074     37-07705
32-04028        33-10867           33-10974             37-02969           37-03077     37-07706
32-04029        33-10868           33-10975             37-02970           37-03078     37-07831
32-11250        33-10869           33-10976             37-02971           37-03079     37-07886
                33-10870           33-10977             37-02973           37-03080     37-07887
B33             33-10871           33-10978             37-02982           37-03083     37-07888
33-07085        33-10873           33-10979             37-02984           37-03087     37-07930
33-07149        33-10930                                37-02986           37-03092     37-07960
33-07150        33-10931           B37                  37-02988           37-03098     37-07962
33-07157        33-10932           37-02818             37-02989           37-03099     37-07964
33-07166        33-10942           37-02831             37-02995           37-03102     37-07965
33-07168        33-10943           37-02832             37-02996           37-03103     37-07967
33-07222        33-10944           37-02845             37-02997           37-03104     37-07973
33-07223        33-10945           37-02868             37-02999           37-03105     37-07976
33-07224        33-10946           37-02871             37-03001           37-03106 .   37-07977
33-07225        33-10948           37-02874             37-03012           37-03108     37-07978
33-10841        33-10949           37-02888             37-03014           37-03110     37-07979
33-10842        33-10950           37-02892             37-03016           37-03112     37-07980
33-10843        33-10951           37-02893             37-03021           37-03114     37-07981
33-10844        33-10952           37-02894             37-03029           37-03120     37-07983
33-10845        33-10953           37-02900             37-03030           37-03135     37-08016
33-10846        33-10954           37-02901             37-03033           37-03136     37-08025
33-10847        33-10955           37-02903             37-03034           37-03138     37-08040
33-10848        33-10956           37-02907             37-03035           37-03149     37-08041
33-10849        33-10957           37-02909             37-03036           37-03150     37-08043
33-10850        33-10958           37-02910             37-03040           37-03153     37-08044
33-10851        33-10959           37-02911             37-03041           37-03154     37-08045
33-10852        33-10960           37-02912             37-03042           37-04259     37-08047
33-10853        33-10961           37-02936             37-03046           37-04260     37-08048
33-10854        33-10962           37-02940             37-03047           37-04388     37-08050
33-10856        33-10963           37-02943             37-03048           37-07133     37-08051
33-10857        33-10964           37-02944             37-03049           37-07134     37-08053
33-10858        33-10965           37-02946             37-03050           37-07135     37-08155
33-10859        33-10966           37-02947             37-03052           37-07144     37-08156
33-10860        33-10967           37-02952             37-03060           37-07145     37-08161
33-10861        33-10968           37-02957             37-03061           37-07186     37-08167
33-10862        33-10969           37-02958             37-03062           37-07187     37-08185
33-10863        33-10970           37-02960             37-03066           37-07188     37-08186

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                                            EXHIBITB
                                       Non-Permittee Objections


37-08190        37-13456           37-13554             37-13600           37-13654   37-13722
37-08229        37-13462           37-13555             37-13601           37-13656   37-13723
37-08231        37-13463           37-13560             37-13602           37-13658   37-13724
37-08232        37-13470           37-13561             37-13603           37-13659   37-13726
37-08233        37-13471           37-13562             37-13604           37-13661   37-13727
37-08234        37-13475           37-13563             37-13605           37-13662   37-13728
37-08236        37-13480           37-13564             37-13606           37-13663   37-13729
37-08237        37-13481           37-13565             37-13607           37-13666   37-13730
37-08239        37-13484           37-13566             37-13608           37-13667   37-13731
37-08240        37-13485           37-13567             37-13609           37-13668   37-13732
37-08244        37-13486           37-13568             37-13610           37-13669   37-13733
37-08245        37-13487           37-13569             37-13611           37-13670   37-13734
37-08247        37-13488           37-13571             37-13612           37-13671   37-13735
37-08290        37-13489           37-13572             37-13613           37-13672   37-13737
37-08300        37-13490           37-13573             37-13614           37-13673   37-13738
37-08312        37-13491           37-13574             37-13615           37-13674   37-13739
37-08313        37-13492           37-13575             37-13616           37-13677   37-13767
37-08314        37-13493           37-13576             37-13618           37-13678   37-13768
37-08315        37-13494           37-13577             37-13620           37-13679   37-14288
37-08316        37-13495           37-13578             37-13621           37-13680   37-14303
37-08317        37-13496           37-13579             37-13622           37-13681   37-14304
37-08318        37-13498           37-13580             37-13623           37-13683   37-14305
37-08320        37-13499           37-13581             37-13629           37-13684   37-14306
37-08321        37-13500           37-13582             37-13630           37-13685   37-14307
37-08524        37-13501           37-13583             37-13631           37-13687   37-14308
37-12192        37-13503           37-13584             37-13632           37-13688   37-14309
37-13430        37-13513           37-13586             37-13633           37-13689   37-14310
37-13431        37-13514           37-13587             37-13634           37-13690   37-14311
37-13432        37-13520           37-13588             37-13635           37-13691   37-14312
37-13433        37-13521           37-13589             37-13636           37-13692   37-14313
37-13434        37-13524           37-13590             37-13637           37-13694   37-14314
37-13441        37-13532           37-13591             37-13638           37-13695   37-14315
37-13443        37-13543           37-13592             37-13639           37-13703   37-14346
37-13445        37-13544           37-13593             37-13641           37-13704   37-14348
37-13448        37-13546           37-13594             37-13642           37-13706   37-14349
37-13449        37-13547           37-13595             37-13644           37-13707   37-14351
37-13451        37-13549           37-13596             37-13645           37-13708   37-14352
37-13453        37-13550           37-13597             37-13646           37-13713   37-14353
37-13454        37-13551           37-13598             37-13647           37-13714   37-14355
37-13455        37-13552           37-13599             37-13653           37-13721   37-14357

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                                             EXHIBITB
                                        Non-Permittee Objections


37-14358        37-14404           37-14522             37-14618           37-14886   37-15010
37-14359        37-14405           37-14524             37-14620           37-14888   37-15011
37-14360        37-14406           37-14526             37-14623           37-14889   37-15013
37-14362        37-14407           37-14530             37-14624           37-14890   37-15014
37-14363        37-14408           37-14531             37-14625           37-14895   37-15015
37-14364        37-14409           37-14532             37-14626           37-14896   37-15020
37-14365        37-14411           37-14534             37-14631           37-14898   37-15023
37-14366        37-14412           37-14535             37-14656           37-14900   37-15025
37-14367        37-14413           37-14539             37-14657           37-14902   37-15026
37-14368        37-14414           37-14540             37-14658           37-14903   37-15029
37-14369        37-14415           37-14541             37-14661           37-14904   37-15031
37-14370        37-14438           37-14543             37-14662           37-14905   37-15032
37-14371        37-14440           37-14544             37-14663           37-14906   37-15034
37-14372        37-14441           37-14545             37-14664           37-14907   37-15035
37-14373        37-14442           37-14550             37-14666           37-14911   37-15055
37-14374        37-14467           37-14558             37-14677           37-14912   37-15056
37-14376        37-14468           37-14559             37-14681           37-14914   37-15063
37-14377        37-14469           37-14560             37-14735           37-14915   37-15064
37-14379        37-14470           37-14562             37-14736           37-14916   37-15065
37-14380        37-14471           37-14563             37-14737           37-14917   37-15066
37-14381        37-14472           37-14565             37-14738           37-14919   37-15071
37-14382        37-14487           37-14567             37-14739           37-14923   37-15072
37-14383        37-14490           37-14568             37-14742           37-14924   37-15079
37-14384        37-14491           37-14570             37-14744           37-14925   37-15086
37-14385        37-14493           37-14572             37-14745           37-14926   37-15089
37-14386        37-14494           37-14573             37-14746           37-14927   37-15114
37-14387        37-14495           37-14575             37-14747           37-14929   37-15115
37-14388        37-14496           37-14576             37-14748           37-14937   37-15141
37-14389        37-14497           37-14578             37-14749           37-14940   37-15143
37-14390        37-14498           37-14579             37-14750           37-14941   37-15145
37-14391        37-14501           37-14606             37-14751           37-14942   37-15166
37-14392        37-14502           37-14609             37-14752           37-14968   37-15206
37-14393        37-14503           37-14610             37-14766           37-14973   37-15210
37-14395        37-14505           37-14611             37-14779           37-14974   37-15211
37-14396        37-14507           37-14612             37-14781           37-14976   37-15212
37-14399        37-14508           37-14613             37-14864           37-14985   37-15217
37-14400        37-14510           37-14614             37-14874           37-14993   37-15220
37-14401        37-14511           37-14615             37-14876           37-14999   37-15226
37-14402        37-14512           37-14616             37-14880           37-15008   37-15229
37-14403        37-14520           37-14617             37-14885           37-15009   37-15239

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                                             EXHIBIT B
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37-15240        37-15473           37-15638             37-15723           37-15861   37-15953
37-15243        37-15474           37-15640             37-15724           37-15862   37-15954
37-15244        37-15477           37-15641             37-15725           37-15863   37-15955
37-15279        37-15478           37-15643             37-15727           37-15868   37-15956
37-15281        37-15479           37-15644             37-15728           37-15869   37-15960
37-15282        37-15494           37-15645             37-15730           37-15870   37-15961
37-15283        37-15498           37-15646             37-15731           37-15872   37-15964
37-15284        37-15505           37-15647             37-15734           37-15873   37-15965
37-15303        37-15523           37-15649             37-15735           37-15876   37-15967
37-15304        37-15524           37-15652             37-15736           37-15877   37-15968
37-15305        37-15588           37-15654             37-15737           37-15878   37-15969
37-15306        37-15589           37-15655             37-15738           37-15879   37-15970
37-15307        37-15590           37-15661             37-15739           37-15880   37-15975
37-15326        37-15591           37-15662             37-15740           37-15881   37-15983
37-15327        37-15592           37-15663             37-15745           37-15883   37-15984
37-15328        37-15593           37-15673             37-15748           37-15884   37-15987
37-15329        37-15594           37-15674             37-15750           37-15886   37-15994
37-15330        37-15599           37-15675             37-15752           37-15887   37-15996
37-15331        37-15600           37-15677             37-15753           37-15888   37-16000
37-15333        37-15602           37-15679             37-15761           37-15889   37-16002
37-15337        37-15605           37-15680             37-15762           37-15891   37-16004
37-15341        37-15606           37-15681             37-15763           37-15892   37-16006
37-15363        37-15607           37-15684             37-15764           37-15893   37-16009
37-15366        37-15608           37-15685             37-15765           37-15895   37-16010
37-15367        37-15610           37-15687             37-15769           37-15896   37-16012
37-15368        37-15612           37-15688             37-15771           37-15897   37-16034
37-15386        37-15613           37-15690             37-15772           37-15898   37-16035
37-15430        37-15614           37-15691             37-15773           37-15899   37-16036
37-15433        37-15616           37-15692             37-15777           37-15905   37-16037
37-15436        37-15619           37-15694             37-15778           37-15910   37-16038
37-15438        37-15622           37-15696             37-15780           37-15911   37-16039
37-15442        37-15623           37-15701             37-15781           37-15914   37-16040
37-15443        37-15624           37-15711             37-15782           37-15916   37-16041
37-15460        37-15625           37-15712             37-15783           37-15918   37-16042
37-15461        37-15627           37-15713             37-15792           37-15928   37-16043
37-15463        37-15630           37-15714             37-15795           37-15934   37-16044
37-15465        37-15631           37-15716             37-15803           37-15939   37-16045
37-15466        37-15633           37-15718             37-15858           37-15946   37-16046
37-15467        37-15635           37-15721             37-15859           37-15950   37-16047
37-15470        37-15636           37-15722             37-15860           37-15952   37-16048

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                                             EXHIBITB
                                        Non-Pennittee Objections


37-16049        37-16099           37-16462             37-16629           37-16833   37-16961
37-16050        37-16106           37-16478             37-16631           37-16859   37-16975
37-16051        37-16110           37-16479             37-16639           37-16863   37-16982
37-16052        37-16113           37-16482             37-16641           37-16864   37-16992
37-16053        37-16118           37-16485             37-16651           37-16873   37-16996
37-16054        37-16124           37-16487             37-16657           37-16874   37-16998
37-16055        37-16128           37-16488             37-16659           37-16875   37-17000
37-16056        37-16130           37-16489             37-16669           37-16879   37-17038
37-16057        37-16131           37-16490             37-16671           37-16884   37-17039
37-16058        37-16132           37-16494             37-16673           37-16887   37-17048
37-16059        37-16136           37-16495             37-16675           37-16890   37-17049
37-16060        37-16137           37-16498             37-16677           37-16892   37-17050
37-16061        37-16140           37-16506             37-16679           37-16893   37-17051
37-16062        37-16142           37-16512             37-16681           37-16898   37-17073
37-16063        37-16143           37-16520             37-16685           37-16899   37-17074
37-16064        37-16144           37-16521             37-16697           37-16900   37-17075
37-16065        37-16159           37-16522             37-16701           37-16905   37-17077
37-16066        37-16162           37-16526             37-16703           37-16906   37-17089
37-16067        37-16167           37-16540             37-16705           37-16907   37-17095
37-16068        37-16169           37-16541             37-16735           37-16908   37-17096
37-16070        37-16174           37-16542             37-16739           37-16909   37-17098
37-16071        37-16175           37-16543             37-16741           37-16911   37-17104
37-16072        37-16176           37-16544             37-16753           37-16914   37-17106
37-16073        37-16193           37-16545             37-16755           37-16915   37-17110
37-16074        37-16228           37-16546             37-16757           37-16916   37-17115
37-16075        37-16235           37-16559             37-16759           37-16921   37-17117
37-16076        37-16240           37-16565             37-16763           37-16922   37-17120
37-16077        37-16241           37-16567             37-16765           37-16923   37-17121
37-16078        37-16242           37-16569             37-16769           37-16924   37-17128
37-16080        37-16243           37-16571             37-16781           37-16925   37-17129
37-16081        37-16246           37-16577             37-16791           37-16945   37-17132
37-16083        37-16250           37-16579             37-16799           37-16946   37-17133
37-16084        37-16297           37-16593             37-16805           37-16947   37-17136
37-16088        37-16340           37-16599             37-16807           37-16949   37-17137
37-16089        37-16388           37-16603             37-16809           37-16950   37-17138
37-16090        37-16389           37-16605             37-16811           37-16951   37-17139
37-16091        37-16392           37-16607             37-16813           37-16952   37-17140
37-16092        37-16427           37-16611             37-16825           37-16953   37-17142
37-16093        37-16451           37-16615             37-16827           37-16958   37-17143
37-16097        37-16452           37-16627             37-16829           37-16959   37-17145

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                                            EXHIBIT B
                                       Non-Permittee Objections


37-17146        37-17247           37-17406             37-17453           37-17539   37-17630
37-17147        37-17258           37-17407             37-17454           37-17542   37-17632
37-17149        37-17287           37-17408             37-17455           37-17543   37-17637
37-17150        37-17289           37-17410             37-17456           37-17544   37-17646
37-17151        37-17291           37-17411             37-17457           37-17545   37-17648
37-17152        37-17292           37-17412             37-17458           37-17549   37-17649
37-17153        37-17293           37-17413             37-17459           37-17551   37-17661
37-17154        37-17295           37-17414             37-17460           37-17566   37-17663
37-17155        37-17299           37-17415             37-17461           37-17568   37-17665
37-17157        37-17301           37-17416             37-17463           37-17570   37-17666
37-17161        37-17302           37-17417             37-17464           37-17571   37-17668
37-17162        37-17313           37-17418             37-17465           37-17573   37-17669
37-17163        37-17314           37-17419             37-17466           37-17574   37-17670
37-17164        37-17315           37-17420             37-17467           37-17575   37-17675
37-17165        37-17316           37-17421             37-17469           37-17576   37-17707
37-17166        37-17322           37-17422             37-17473           37-17577   37-17708
37-17167        37-17325           37-17423             37-17476           37-17578   37-17710
37-17168        37-17333           37-17424             37-17477           37-17579   37-17711
37-17173        37-17335           37-17427             37-17478           37-17580   37-17726
37-17174        37-17336           37-17428             37-17481           37-17582   37-17748
37-17178        37-17338           37-17429             37-17485           37-17583   37-17752
37-17179        37-17339           37-17430             37-17486           37-17584   37-17754
37-17180        37-17341           37-17431             37-17488           37-17587   37-17755
37-17181        37-17343           37-17432             37-17494           37-17588   37-17756
37-17183        37-17346           37-17433             37-17501           37-17591   37-17757
37-17184        37-17349           37-17434             37-17506           37-17594   37-17765
37-17192        37-17350           37-17436             37-17507           37-17597   37-17766
37-17194        37-17351           37-17438             37-17510           37-17598   37-17767
37-17196        37-17352           37-17439             37-17511           37-17601   37-17768
37-17197        37-17354           37-17440             37-17514           37-17602   37-17770
37-17198        37-17355           37-17441             37-17516           37-17603   37-17771
37-17208        37-17356           37-17442             37-17518           37-17604   37-17774
37-17209        37-17357           37-17443             37-17521           37-17609   37-17776
37-17210        37-17358           37-17444             37-17522           37-17610   37-17778
37-17217        37-17359           37-17445             37-17524           37-17615   37-17779
37-17218        37-17373           37-17446             37-17525           37-17624   37-17780
37-17220        37-17391           37-17447             37-17530           37-17626   37-17795
37-17221        37-17397           37-17448             37-17533           37-17627   37-17796
 37-17244       37-17402           37-17450             37-17534           37-17628   37-17805
37-17245        37-17405           37-17451             37-17538           37-17629   37-17807

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                                                 EXHIBIT B
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     37-17808        37-17866           37-17942             37-18447           37-19172   37-19302
     37-17809        37-17867           37-17943             37-18449           37-19175   37-19303
     37-17810        37-17868           37-17944             37-18458           37-19176   37-19304
     37-17811        37-17870           37-17945             37-18459           37-19177   37-19307
     37-17813        37-17873           37-17946             37-18466           37-19178   37-19308
     37-17818        37-17874           37-17947             37-18476           37-19182   37-19309
     37-17819        37-17875           37-17948             37-18477           37-19183   37-19310
     37-17824        37-17876           37-17949             37-18479           37-19184   37-19311
     37-17825        37-17877           37-17950             37-18481           37-19193   37-19312
     37-17826        37-17878           37-17954             37-18496           37-19194   37-19313
     37-17827        37-17881           37-17955             37-18498           37-19242   37-19314
     37-17829        37-17882           37-17956             37-18501           37-19246   37-19318
     37-17836        37-17884           37-17958             37-18502           37-19252   37-19319
     37-17837        37-17885           37-17960             37-18505           37-19256   37-19320
     37-17838        37-17891           37-17961             37-18592           37-19259   37-19321
     37-17839        37-17893           37-17962             37-18593           37-19275   37-19322
     37-17840        37-17895           37-17963             37-18605           37-19276   37-19323
     37-17841        37-17897           37-17965             37-18608           37-19277   37-19324
     37-17843        37-17904           37-17967             37-18619           37-19278   37-19355
     37-17844        37-17908           37-17968             37-18621           37-19279   37-19359
     37-17845        37-17909           37-17969             37-18622           37-19280   37-19360
     37-17846        37-17911           37-17970             37-18637           37-19281   37-19364
     37-17847        37-17912           37-17973             37-18639           37-19282   37-19365
     37-17848        37-17921           37-17980             37-18640           37-19283   37-19366
     37-17849        37-17922           37-17990             37-18642           37-19284   37-19367
     37-17850        37-17923           37-17993             37-18643           37-19285   37-19368
     37-17851        37-17924           37-17999             37-18644           37-19286   37-19380
     37-17852        37-17925           37-18096             37-18646           37-19287   37-19382
     37-17853        37-17926           37-18141             37-18647           37-19288   37-19386
     37-17854        37-17927           37-18142             37-18648           37-19290   37-19392
     37-17855        37-17928           37-18143             37-18650           37-19291   37-19394
     37-17856        37-17929           37-18144             37-18652           37-19292   37-19395
     37-17857        37-17931           37-18155             37-18653           37-19293   37-19396
     37-17858        37-17932           37-18284             37-18654           37-19294   37-19397
     37-17860        37-17933           37-18387             37-18655           37-19296   37-19400
     37-17861        37-17934           37-18388             37-19114           37-19297   37-19406
     37-17862        37-17937           37-18420             37-19161           37-19298   37-19407
     37-17863        37-17938           37-18432             37-19162           37-19299   37-19412
     37-17864        37-17939           37-18435             37-19170           37-19300   37-19413
     37-17865        37-17941           37-18446             37-19171           37-19301   37-19414

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37-19415        37-19580           37-19871             37-19925           37-19971   37-20011
37-19418        37-19582           37-19872             37-19929           37-19972   37-20012
37-19419        37-19584           37-19874             37-19930           37-19973   37-20013
37-19420        37-19595           37-19875             37-19931           37-19974   37-20014
37-19422        37-19602           37-19877             37-19932           37-19975   37-20015
37-19423        37-19605           37-19889             37-19936           37-19976   37-20016
37-19424        37-19607           37-19890             37-19937           37-19977   37-20017
37-19425        37-19612           37-19891             37-19938           37-19978   37-20018
37-19426        37-19617           37-19892             37-19939           37-19979   37-20019
37-19427        37-19621           37-19893             37-19940           37-19980   37-20020
37-19430        37-19643           37-19894             37-19941           37-19981   37-20021
37-19431        37-19677           37-19895             37-19942           37-19982   37-20022
37-19432        37-19678           37-19896             37-19943           37-19983   37-20023
37-19434        37-19679           37-19897             37-19944           37-19984   37-20024
37-19437        37-19680           37-19898             37-19945           37-19985   37-20025
37-19463        37-19681           37-19899             37-19946           37-19986   37-20026
37-19464        37-19683           37-19900             37-19947           37-19987   37-20027
37-19465        37-19685           37-19901             37-19948           37-19988   37-20028
37-19466        37-19687           37-19902             37-19949           37-19989   37-20030
37-19471        37-19689           37-19903             37-19950           37-19990   37-20031
37-19472        37-19690           37-19904             37-19951           37-19991   37-20032
37-19473        37-19849           37-19906             37-19952           37-19992   37-20033
37-19474        37-19850           37-19907             37-19953           37-19993   37-20034
37-19475        37-19852           37-19908             37-19954           37-19994   37-20042
37-19477        37-19853           37-19909             37-19955           37-19995   37-20044
37-19502        37-19854           37-19910             37-19956           37-19996   37-20045
37-19503        37-19857           37-19911             37-19957           37-19997   37-20048
37-19504        37-19858           37-19912             37-19958           37-19998   37-20049
37-19526        37-19859           37-19913             37-19959           37-19999   37-20052
37-19527        37-19860           37-19914             37-19960           37-20000   37-20061
37-19528        37-19861           37-19915             37-19961           37-20001   37-20063
37-19550        37-19862           37-19916             37-19962           37-20002   37-20066
37-19551        37-19863           37-19917             37-19963           37-20003   37-20072
37-19552        37-19864           37-19918             37-19964           37-20004   37-20073
37-19553        37-19865           37-19919             37-19965           37-20005   37-20074
37-19573        37-19866           37-19920             37-19966           37-20006   37-20076
37-19574        37-19867           37-19921             37-19967           37-20007   37-20078
37-19575        37-19868           37-19922             37-19968           37-20008   37-20079
37-19576        37-19869           37-19923             37-19969           37-20009   37-20081
37-19578        37-19870           37-19924             37-19970           37-20010   37-20085

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37-20086        37-20176           67-02418             67-04403           67-07092   67-11782
37-20087        37-20177           67-02419             67-04404           67-07093   67-11783
37-20088        37-20178           67-02420             67-04406           67-07094   67-11785
37-20090        37-20179           67-02423             67-04407           67-07096   67-11786
37-20098        37-20182           67-02424             67-04408           67-07098   67-11787
37-20100        37-20183           67-02426             67-04427           67-07099   67-11788
37-20101        37-20186           67-04350             67-04428           67-07121   67-11790
37-20104        37-20193           67-04351             67-04429           67-07176   67-11791
37-20105        37-20195           67-04356             67-04431           67-07218   67-11792
37-20110        37-20196           67-04357             67-04432           67-07246   67-11793
37-20111        37-20197           67-04358             67-04439           67-07262   67-11794
37-20112        37-20198           67-04359             67-04440           67-07267   67-11795
37-20113        37-20199           67-04363             67-04441           67-07268   67-11797
37-20115        37-20203           67-04365             67-04442           67-07269   67-11799
37-20116        37-20204           67-04366             67-04443A          67-07270   67-11800
37-20119        37-20205           67-04371             67-04446           67-07552   67-11801
37-20120        37-20206           67-04372             67-04447           67-07613   67-11802
37-20122        37-20218           67-04373             67-04476           67-07616   67-11803
37-20123        37-20227           67-04374             67-04477           67-07640   67-11804
37-20131        37-20228           67-04375             67-04481           67-07641   67-11805
37-20133        37-20247           67-04377             67-04482           67-07642   67-11806
37-20134        37-20249           67-04378             67-04502           67-07652   67-11807
37-20138        37-20250           67-04379             67-04505           67-07657   67-11808
37-20141        37-20251           67-04380             67-04506           67-07658   67-11811
37-20142        37-20253           67-04381             67-04507           67-07659   67-11812
37-20143        37-20257           67-04383             67-04521           67-07661   67-11815
37-20144        37-20258           67-04385             67-04526           67-07662   67-11816
37-20145        37-20262           67-04386             67-04528           67-07663   67-11817
37-20147        37-20263           67-04388             67-04582           67-07664   67-11818
37-20149                           67-04389             67-04583           67-07665   67-11819
37-20150        B41                67-04390             67-07077           67-07670   67-11820
37-20152        41-10228           67-04391             67-07078           67-07675   67-11821
37-20156                           67-04393             67-07079           67-07682   67-11822
37-20157        B67                67-04394             67-07081           67-07683   67-11823
37-20158        67-02387           67-04395             67-07082           67-07719   67-11824
37-20163        67-02388           67-04396             67-07083           67-07743   67-11825
37-20164        67-02414           67-04398             67-07084           67-07745   67-11826
37-20165        67-02415           67-04399             67-07085           67-07832   67-11827
37-20173        67-02416           67-04400             67-07087           67-11780   67-11829
37-20174        67-02417           67-04401             67-07090           67-11781   67-11830

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67-11831        67-11883           67-11937             67-11980           67-12024   67-12073
67-11832        67-11884           67-11938             67-11982           67-12025   67-12074
67-11833        67-11885           67-11939             67-11983           67-12026   67-12075
67-11834        67-11886           67-11940             67-11984           67-12027   67-12076
67-11835        67-11887           67-11941             67-11985           67-12028   67-12077
67-11836        67-11888           67-11942             67-11986           67-12029   67-12078
67-11837        67-11890           67-11943             67-11987           67-12034   67-12079
67-11838        67-11891           67-11944             67-11988           67-12035   67-12080
67-11839        67-11892           67-11945             67-11989           67-12037   67-12081
67-11841        67-11893           67-11946             67-11990           67-12038   67-12082
67-11842        67-11894           67-11947             67-11991           67-12039   67-12083
67-11843        67-11895           67-11948             67-11992           67-12040   67-12084
67-11844        67-11897           67-11950             67-11993           67-12041   67-12086
67-11845        67-11898           67-11951             67-11994           67-12042   67-12088
67-11846        67-11900           67-11952             67-11995           67-12043   67-12090
67-11847        67-11903           67-11953             67-11996           67-12044   67-12091
67-11848        67-11905           67-11954             67-11997           67-12045   67-12092
67-11849        67-11906           67-11955             67-11998           67-12046   67-12093
67-11852        67-11907           67-11956             67-12001           67-12047   67-12094
67-11853        67-11908           67-11957             67-12003           67-12048   67-12095
67-11854        67-11909           67-11958             67-12004           67-12050   67-12096
67-11855        67-11910           67-11959             67-12005           67-12051   67-12097
67-11856        67-11911           67-11960             67-12006           67-12054   67-12098
67-11857        67-11912           67-11961             67-12007           67-12055   67-12099
67-11858        67-11913           67-11962             67-12008           67-12056   67-12100
67-11860        67-11914           67-11963             67-12009           67-12058   67-12101
67-11861        67-11915           67-11965             67-12010           67-12059   67-12102
67-11862        67-11916           67-11966             67-12011           67-12060   67-12103
67-11863        67-11917           67-11967             67-12012           67-12061   67-12104
67-11864        67-11924           67-11968             67-12013           67-12062   67-12105
67-11865        67-11926           67-11969             67-12014           67-12063   67-12106
67-11866        67-11927           67-11970             67-12015           67-12064   67-12107
67-11867        67-11928           67-11971             67-12016           67-12065   67-12112
67-11868        67-11929           67-11972             67-12017           67-12066   67-12113
67-11869        67-11930           67-11973             67-12018           67-12067   67-12114
67-11870        67-11931           67-11974             67-12019           67-12068   67-12115
67-11871        67-11933           67-11975             67-12020           67-12069   67-12117
67-11872        67-11934           67-11976             67-12021           67-12070   67-12119
67-11879        67-11935           67-11978             67-12022           67-12071   67-12121
67-11881        67-11936           67-11979             67-12023           67-12072   67-12122

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67-12123        67-12396           67-12462             67-12518           67-12580   67-12640
67-12124        67-12397           67-12463             67-12519           67-12581   67-12641
67-12125        67-12398           67-12464             67-12523           67-12582   67-12642
67-12126        67-12399           67-12465             67-12527           67-12583   67-12647
67-12127        67-12400           67-12466             67-12529           67-12584   67-12653
67-12128        67-12401           67-12469             67-12531           67-12585   67-12654
67-12130        67-12403           67-12470             67-12532           67-12586   67-12655
67-12131        67-12404           67-12474             67-12533           67-12587   67-12656
67-12132        67-12405           67-12475             67-12534           67-12588   67-12657
67-12343        67-12406           67-12476             67-12535           67-12589   67-12658
67-12344        67-12407           67-12478             67-12537           67-12590   67-12659
67-12346        67-12408           67-12479             67-12540           67-12591   67-12662
67-12348        67-12409           67-12480             67-12541           67-12592   67-12664
67-12352        67-12411           67-12481             67-12544           67-12593   67-12666
67-12356        67-12412           67-12483             67-12545           67-12595   67-12668
67-12359        67-12413           67-12484             67-12546           67-12596   67-12669
67-12361        67-12414           67-12485             67-12547           67-12599   67-12671
67-12362        67-12415           67-12486             67-12548           67-12601   67-12673
67-12364        67-12416           67-12487             67-12552           67-12602   67-12675
67-12365        67-12418           67-12492             67-12553           67-12605   67-12677
67-12367        67-12419           67-12495             67-12554           67-12608   67-12678
67-12368        67-12420           67-12496             67-12555           67-12609   67-12683
67-12369        67-12421           67-12497             67-12556           67-12610   67-12685
67-12370        67-12427           67-12498             67-12557           67-12611   67-12686
67-12371        67-12429           67-12499             67-12558           67-12613   67-12687
67-12372        67-12431           67-12500             67-12559           67-12614   67-12688
67-12373        67-12433           67-12501             67-12560           67-12616   67-12689
67-12374        67-12435           67-12502             67-12561           67-12618   67-12691
67-12375        67-12437           67-12503             67-12562           67-12620   67-12693
67-12376        67-12443           67-12504             67-12563           67-12623   67-12695
67-12377        67-12445           67-12505             67-12564           67-12624   67-12697
67-12379        67-12447           67-12506             67-12565           67-12631   67-12703
67-12380        67-12450           67-12507             67-12566           67-12632   67-12704
67-12381        67-12455           67-12508             67-12568           67-12633   67-12705
67-12382        67-12456           67-12509             67-12572           67-12634   67-12706
67-12386        67-12457           67-12510             67-12574           67-12635   67-12707
67-12388        67-12458           67-12511             67-12575           67-12636   67-12709
67-12392        67-12459           67-12512             67-12576           67-12637   67-12710
67-12393        67-12460           67-12516             67-12577           67-12638   67-12713
67-12395        67-12461           67-12517             67-12578           67-12639   67-12714

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                                             EXHIBITB
                                        Non-Permittee Objections


67-12715        67-12785           67-12905             67-13014           67-13115   67-13264
67-12716        67-12786           67-12913             67-13015           67-13119   67-13269
67-12720        67-12790           67-12917             67-13016           67-13120   67-13270
67-12727        67-12792           67-12920             67-13017           67-13121   67-13273
67-12729        67-12794           67-12924             67-13019           67-13123   67-13275
67-12734        67-12796           67-12928             67-13020           67-13124   67-13277
67-12736        67-12799           67-12929             67-13024           67-13125   67-13278
67-12738        67-12809           67-12930             67-13026           67-13126   67-13281
67-12740        67-12810           67-12939             67-13027           67-13128   67-13282
67-12741        67-12811           67-12940             67-13029           67-13136   67-13284
67-12742        67-12815           67-12942             67-13042           67-13137   67-13285
67-12743        67-12817           67-12949             67-13044           67-13140   67-13286
67-12744        67-12819           67-12952             67-13045           67-13141   67-13287
67-12745        67-12826           67-12954             67-13046           67-13142   67-13288
67-12746        67-12828           67-12955             67-13047           67-13147   67-13289
67-12747        67-12830           67-12956             67-13050           67-13148   67-13292
67-12748        67-12840           67-12957             67-13055           67-13150   67-13293
67-12749        67-12841           67-12958             67-13056           67-13153   67-13295
67-12750        67-12850           67-12959             67-13058           67-13154   67-13296
67-12751        67-12851           67-12960             67-13069           67-13159   67-13298
67-12752        67-12852           67-12968             67-13070           67-13168   67-13299
67-12753        67-12853           67-12969             67-13071           67-13174   67-13300
67-12754        67-12855           67-12973             67-13072           67-13180   67-13301
67-12759        67-12864           67-12974             67-13077           67-13181   67-13302
67-12761        67-12865           67-12977             67-13078           67-13183   67-13303
67-12763        67-12869           67-12978             67-13080           67-13184   67-13304
67-12765        67-12870           67-12979             67-13082           67-13185   67-13306
67-12766        67-12872           67-12981             67-13084           67-13226   67-13307
67-12768        67-12873           67-12982             67-13085           67-13231   67-13310
67-12769        67-12874           67-12984             67-13086           67-13232   67-13311
67-12771        67-12876           67-12990             67-13089           67-13233   67-13316
67-12772        67-12885           67-12991             67-13094           67-13234   67-13323
67-12775        67-12886           67-12998             67-13095           67-13235   67-13324
67-12776        67-12888           67-12999             67-13096           67-13239   67-13327
67-12777        67-12889           67-13001             67-13097           67-13245   67-13328
67-12779        67-12890           67-13006             67-13098           67-13247   67-13330
67-12780        67-12892           67-13008             67-13100           67-13257   67-13334
67-12782        67-12893           67-13009             67-13101           67-13258   67-13339
67-12783        67-12899           67-13010             67-13107           67-13261   67-13505
67-12784        67-12900           67-13013             67-13114           67-13263   67-13506

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                                             EXHIBITB
                                        Non-Permittee Objections


67-13508        67-14200           69-04041             69-04093           69-10128   69-10175
67-14130        67-14201           69-04042             69-04094           69-10131   69-10176
67-14138        67-14202           69-04043             69-04097           69-10132   69-10177
67-14139        67-14203           69-04044             69-04098           69-10133   69-10178
67-14141        67-14204           69-04045             69-04101           69-10134   69-10179
67-14163        67-14205           69-04046             69-07014           69-10135   69-10180
67-14164        67-14206           69-04047             69-07015           69-10136   69-10181
67-14165        67-14207           69-04048             69-07051           69-10137   69-10182
67-14166        67-14208           69-04049             69-07061           69-10138   69-10183
67-14167        67-14209           69-04050             69-07067           69-10139   69-10184
67-14168        67-14210           69-04052             69-07068           69-10140   69-10185
67-14169        67-14211           69-04053             69-07069           69-10141   69-10186
67-14170        67-14212           69-04054             69-07076           69-10143   69-10187
67-14171        67-14213           69-04055             69-10099           69-10144   69-10188
67-14172        67-14214           69-04056             69-10100           69-10145   69-10189
67-14173        67-14215           69-04057             69-10101           69-10146   69-10190
67-14174        67-14216           69-04059             69-10102           69-10147   69-10191
67-14175        67-14217           69-04060             69-10104           69-10148   69-10192
67-14176        67-14218           69-04061             69-10105           69-10149   69-10193
67-14177        67-14219           69-04062             69-10106           69-10150   69-10194
67-14178        67-14220           69-04063             69-10107           69-10151   69-10195
67-14179        67-14223           69-04064             69-10108           69-10152   69-10196
67-14180        67-14225           69-04065             69-10109           69-10153   69-10197
67-14181        67-14231           69-04067             69-10110           69-10154   69-10198
67-14182        67-14232           69-04068             69-10111           69-10156   69-10199
67-14183                           69-04069             69-10112           69-10157   69-10200
67-14184                           69-04071             69-10113           69-10159   69-10201
67-14185        B69                69-04073             69-10114           69-10160   69-10202
67-14186        69-04028           69-04074             69-10115           69-10162   69-10203
67-14187        69-04029           69-04075             69-10116           69-10163   69-10204
67-14188        69-04030           69-04076             69-10117           69-10164   69-10205
67-14189        69-04031           69-04077             69-10118           69-10165   69-10207
67-14190        69-04032           69-04078             69-10120           69-10166   69-10208
67-14191        69-04034           69-04082             69-10121           69-10167   69-10209
67-14192        69-04035           69-04083             69-10122           69-10168   69-10210
67-14193        69-04036           69-04084             69-10123           69-10169   69-10211
67-14194        69-04037           69-04087             69-10124           69-10170   69-10212
67-14195        69-04038           69-04088             69-10125           69-10171   69-10213
67-14196        69-04039           69-04089             69-10126           69-10172   69-10214
67-14197        69-04040           69-04090             69-10127           69-10173   69-10215

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69-10217        69-10259           69-10454             69-10511           69-10617   69-10721
69-10218        69-10261           69-10455             69-10512           69-10618   69-10722
69-10219        69-10262           69-10456             69-10513           69-10620   69-10724
69-10220        69-10263           69-10457             69-10514           69-10629   69-10725
69-10221        69-10264           69-10458             69-10515           69-10630   69-10726
69-10223        69-10266           69-10459             69-10516           69-10631   69-10727
69-10224        69-10267           69-10460             69-10517           69-10633   69-10728
69-10225        69-10268           69-10461             69-10518           69-10634   69-10730
69-10226        69-10269           69-10462             69-10519           69-10636   69-10733
69-10228        69-10270           69-10463             69-10520           69-10637   69-10736
69-10229        69-10271           69-10464             69-10521           69-10638   69-10737
69-10230        69-10272           69-10465             69-10522           69-10639   69-10738
69-10231        69-10273           69-10466             69-10523           69-10647   69-10742
69-10232        69-10274           69-10474             69-10524           69-10648   69-10743
69-10233        69-10275           69-10476             69-10525           69-10649   69-10746
69-10234        69-10276           69-10477             69-10526           69-10650   69-10747
69-10235        69-10412           69-10484             69-10527           69-10657   69-10749
69-10236        69-10414           69-10485             69-10528           69-10658   69-10750
69-10237        69-10429           69-10486             69-10529           69-10659   69-10751
69-10238        69-10430           69-10487             69-10531           69-10660   69-11404
69-10239        69-10431           69-10488             69-10533           69-10663   69-11411
69-10240        69-10432           69-10489             69-10537           69-10678   69-11413
69-10241        69-10433           69-10490             69-10539           69-10684   69-11414
69-10242        69-10434           69-10491             69-10541           69-10686   69-11415
69-10243        69-10435           69-10492             69-10546           69-10687   69-11418
69-10244        69-10436           69-10493             69-10547           69-10688   69-11420
69-10245        69-10437           69-10494             69-10548           69-10689   69-11421
69-10246        69-10438           69-10495             69-10549           69-10691   69-11422
69-10247        69-10439           69-10496             69-10554           69-10692   69-11424
69-10248        69-10441           69-10497             69-10556           69-10694   69-11425
69-10249        69-10443           69-10498             69-10566           69-10695   69-11426
69-10250        69-10444           69-10501             69-10570           69-10696   69-11427
69-10251        69-10445           69-10502             69-10572           69-10697   69-11428
69-10252        69-10446           69-10503             69-10574           69-10698   69-11429
69-10253        69-10447           69-10504             69-10576           69-10701   69-11430
69-10254        69-10448           69-10505             69-10578           69-10713   69-11433
69-10255        69-10450           69-10506             69-10581           69-10715   69-11434
69-10256        69-10451           69-10508             69-10608           69-10716   69-11435
69-10257        69-10452           69-10509             69-10610           69-10717   69-11436
69-10258        69-10453           69-10510             69-10616           69-10719   69-11437

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                                            EXHIBIT B
                                       Non-Permittee Objections


69-11438        77-07290           77-10178             77-10302           77-10626   77-10934
69-11439        77-10138           77-10179             77-10304           77-10627   77-10997
69-11440        77-10139           77-10180             77-10305           77-10628   77-11001
69-11441        77-10140           77-10181             77-10309           77-10629   77-11002
69-11442        77-10141           77-10182             77-10313           77-10633   77-11003
69-11443        77-10142           77-10185             77-10314           77-10635   77-11004
69-11444        77-10143           77-10186             77-10315           77-10636   77-11005
69-11445        77-10145           77-10187             77-10317           77-10637   77-11006
69-11446        77-10146           77-10189             77-10319           77-10638   77-11007
69-11447        77-10147           77-10190             77-10320           77-10639   77-11008
69-11448        77-10148           77-10191             77-10321           77-10640   77-11009
69-11449        77-10149           77-10193             77-10322           77-10641   77-11010
69-11450        77-10150           77-10195             77-10323           77-10868   77-11012
69-11451        77-10151           77-10196             77-10324           77-10869   77-11013
69-11452        77-10152           77-10197             77-10325           77-10870   77-11014
69-11453        77-10153           77-10198             77-10326           77-10888   77-11015
69-11454        77-10154           77-10199             77-10327           77-10890   77-11016
69-11455        77-10155           77-10200             77-10328           77-10891   77-11017
69-11456        77-10156           77-10201             77-10329           77-10892   77-11018
69-11457        77-10157           77-10202             77-10330           77-10893   77-11020
69-11458        77-10158           77-10203             77-10331           77-10894   77-11021
69-11459        77-10159           77-10204             77-10333           77-10895   77-11022
69-11460        77-10160           77-10205             77-10334           77-10898   77-11023
69-11461        77-10161           77-10206             77-10338           77-10901   77-11027
69-11462        77-10162           77-10207             77-10340           77-10907   77-11028
69-11463        77-10163           77-10208             77-10341           77-10915   77-11029
69-11464        77-10164           77-10262             77-10342           77-10916   77-11030
                77-10165           77-10279             77-10350           77-10917   77-11031
B77             77-10166           77-10283             77-10351           77-10919   77-11032
77-04094        77-10167           77-10285             77-10352           77-10920   77-11033
77-04096        77-10168           77-10286             77-10353           77-10921   77-11034
77-04098        77-10169           77-10287             77-10356           77-10922   77-11038
77-04099        77-10170           77-10289             77-10357           77-10925   77-11041
77-04106        77-10171           77-10290             77-10616           77-10926   77-11046
77-04109        77-10172           77-10291             77-10617           77-10928   77-11047
77-04112        77-10173           77-10292             77-10618           77-10929   77-11048
77-04113        77-10174           77-10293             77-10619           77-10930   77-11049
77-04192        77-10175           77-10295             77-10620           77-10931   77-11050
77-07139        77-10176           77-10296             77-10621           77-10932   77-11059
77-07196        77-10177           77-10297             77-10625           77-10933   77-11061

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                                                         EXHIBIT B
                                                    Non-Pennittee Objections


             77-11062        77-11130           77-11212             77-11292           77-11372   77-11454
             77-11063        77-11132           77-11214             77-11294           77-11374   77-11456
             77-11065        77-11134           77-11216             77-11296           77-11376   77-11457
             77-11069        77-11136           77-11218             77-11298           77-11378   77-11458
             77-11070        77-11138           77-11220             77-11300           77-11380   77-11459
             77-11071        77-11140           77-11222             77-11302           77-11382   77-11462
             77-11072        77-11142           77-11224             77-11304           77-11384   77-11464
             77-11073        77-11144           77-11226             77-11306           77-11386   77-11465
             77-11075        77-11146           77-11228             77-11308           77-11388   77-11466
             77-11076        77-11148           77-11230             77-11310           77-11390   77-11472
             77-11077        77-11150           77-11232             77-11312           77-11392   77-11474
             77-11078        77-11152           77-11234             77-11314           77-11394   77-11476
             77-11079        77-11154           77-11236             77-11316           77-11396   77-11478
             77-11080        77-11156           77-11238             77-11318           77-11398   77-11480
             77-11081        77-11158           77-11240             77-11320           77-11400   77-11482
             77-11082        77-11160           77-11242             77-11322           77-11402   77-11484
             77-11083        77-11162           77-11244             77-11324           77-11404   77-11486
             77-11084        77-11164           77-11246             77-11326           77-11406   77-11488
             77-11086        77-11166           77-11248             77-11328           77-11408   77-11490
             77-11088        77-11168           77-11250             77-11330           77-11410   77-11492
             77-11090        77-11170           77-11252             77-11332           77-11412   77-11494
             77-11092        77-11172           77-11254             77-11334           77-11414   77-11496
             77-11094        77-11174           77-11256             77-11336           77-11416   77-11498
             77-11096        77-11176           77-11258             77-11338           77-11418   77-11500
             77-11098        77-11178           77-11260             77-11340           77-11420   77-11501
             77-11100        77-11180           77-11262             77-11342           77-11422   77-11502
             77-11102        77-11182           77-11264             77-11344           77-11424   77-11503
             77-11104        77-11186           77-11266             77-11346           77-11426   77-11504
             77-11106        77-11188           77-11268             77-11348           77-11428   77-11505
             77-11108        77-11190           77-11270             77-11350           77-11430   77-11506
             77-11110        77-11192           77-11272             77-11352           77-11432   77-11507
             77-11112        77-11194           77-11274             77-11354           77-11434   77-11508
             77-11114        77-11196           77-11276             77-11356           77-11436   77-11510
             77-11116        77-11198           77-11278             77-11358           77-11438   77-13863
             77-11118        77-11200           77-11280             77-11360           77-11440   77-13864
             77-11120        77-11202           77-11282             77-11362           77-11442   77-13865
             77-11122        77-11204           77-11284             77-11364           77-11444   77-13866
             77-11124        77-11206           77-11286             77-11366           77-11446   77-13867
             77-11126        77-11208           77-11288             77-11368           77-11448   77-13868
             77-11128        77-11210           77-11290             77-11370           77-11450   77-13870

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                                            EXHIBIT B
                                       Non-Permittee Objections


77-13872        77-13934           78-10389             78-10437           78-10492   78-10539
77-13873        77-13935           78-10390             78-10438           78-10494   78-10540
77-13874        77-13936           78-10391             78-10439           78-10495   78-10541
77-13876        77-14136           78-10392             78-10440           78-10496   78-10542
77-13877                           78-10393             78-10441           78-10497   78-10543
77-13879        B78                78-10394             78-10442           78-10499   78-10569
77-13880        78-04145           78-10395             78-10443           78-10500   78-10576
77-13882        78-04146           78-10396             78-10444           78-10501   78-10619
77-13883        78-04147           78-10397             78-10446           78-10502   78-10620
77-13884        78-04150           78-10398             78-10447           78-10503   78-10621
77-13885        78-04153           78-10399             78-10448           78-10504   78-10622
77-13886        78-04155           78-10400             78-10449           78-10505   78-10661
77-13887        78-04156           78-10401             78-10452           78-10506   78-10779
77-13888        78-04178           78-10402             78-10453           78-10510   78-10780
77-13889        78-04179           78-10404             78-10454           78-10511   78-10784
77-13890        78-04180           78-10405             78-10455           78-10512   78-10785
77-13891        78-04182           78-10406             78-10456           78-10514   78-10792
77-13892        78-04183           78-10407             78-10457           78-10515   78-10793
77-13893        78-04189           78-10408             78-10458           78-10516   78-10794
77-13894        78-04192           78-10409             78-10459           78-10517   78-10795
77-13895        78-04227           78-10412             78-10461           78-10518   78-10797
77-13896        78-04228           78-10414             78-10462           78-10520   78-10798
77-13897        78-04230           78-10415             78-10463           78-10521   78-10799
77-13898        78-04231           78-10416             78-10464           78-10522   78-10800
77-13899        78-04240           78-10417             78-10466           78-10523   78-10801
77-13900        78-04242           78-10418             78-10467           78-10524   78-10802
77-13901        78-04245           78-10419             78-10469           78-10525   78-10803
77-13902        78-04273           78-10420             78-10472           78-10526   78-10804
77-13903        78-04274           78-10421             78-10476           78-10527   78-10805
77-13904        78-04278           78-10422             78-10477           78-10528   78-10806
77-13905        78-04326           78-10423             78-10478           78-10529   78-10807
77-13906        78-04368           78-10424             78-10479           78-10530   78-10809
77-13907        78-04370           78-10425             78-10481           78-10531   78-10810
77-13908        78-04371           78-10426             78-10482           78-10532   78-10811
77-13909        78-10381           78-10427             78-10483           78-10533   78-10812
77-13910        78-10383           78-10428             78-10484           78-10534   78-10813
77-13911        78-10385           78-10429             78-10485           78-10535   78-10814
77-13912        78-10386           78-10430             78-10487           78-10536   78-10815
77-13914        78-10387           78-10431             78-10489           78-10537   78-10816
77-13933        78-10388           78-10432             78-10490           78-10538   78-10817

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                                            EXHIBITB
                                       Non-Permittee Objections


78-10818        78-10868           78-10915             78-11008           78-11992   79-04164
78-10819        78-10869           78-10918             78-11010           78-11998   79-04165
78-10820        78-10870           78-10922             78-11014           78-11999   79-04166
78-10822        78-10871           78-10924             78-11016           78-12017   79-04168
78-10823        78-10872           78-10926             78-11018           78-12019   79-04169
78-10824        78-10873           78-10928             78-11020           78-12020   79-04170
78-10825        78-10874           78-10930             78-11024           78-12021   79-04172
78-10827        78-10875           78-10932             78-11026           78-12022   79-04174
78-10828        78-10876           78-10934             78-11028           78-12023   79-04175
78-10829        78-10878           78-10938             78-11030           78-12024   79-04178
78-10830        78-10879           78-10940             78-11032           78-12025   79-04179
78-10831        78-10880           78-10942             78-11034           78-12026   79-04180
78-10834        78-10881           78-10944             78-11036           78-12027   79-04181
78-10835        78-10882           78-10945             78-11038           78-12028   79-04182
78-10839        78-10883           78-10948             78-11040           78-12029   79-04183
78-10840        78-10884           78-10950             78-11048           78-12030   79-04185
78-10841        78-10885           78-10952             78-11050           78-12032   79-04186
78-10842        78-10886           78-10954             78-11058           78-12103   79-04187
78-10843        78-10887           78-10956             78-11060                      79-04190
78-10844        78-10889           78-10958             78-11062           B79        79-04191
78-10845        78-10890           78-10960             78-11064           79-02100   79-04192
78-10846        78-10891           78-10964             78-11068           79-02101   79-04193
78-10848        78-10892           78-10968             78-11074           79-02102   79-04194
78-10849        78-10893           78-10972             78-11076           79-02103   79-04195
78-10850        78-10894           78-10974             78-11078           79-04133   79-04196
78-10851        78-10895           78-10976             78-11080           79-04134   79-04198
78-10852        78-10896           78-10978             78-11086           79-04138   79-04201
78-10853        78-10897           78-10980             78-11090           79-04139   79-04202
78-10854        78-10898           78-10982             78-11092           79-04141   79-04203
78-10855        78-10899           78-10984             78-11093           79-04143   79-04204
78-10856        78-10900           78-10986             78-11094           79-04144   79-04205
78-10857        78-10901           78-10988             78-11977           79-04147   79-04206
78-10858        78-10902           78-10990             78-11978           79-04149   79-04207
78-10859        78-10904           78-10992             78-11979           79-04155   79-04208
78-10862        78-10905           78-10994             78-11981           79-04156   79-04211
78-10863        78-10906           78-10996             78-11982           79-04157   79-04212
78-10864        78-10908           78-11000             78-11983           79-04159   79-04213
78-10865        78-10910           78-11002             78-11985           79-04160   79-04215
78-10866        78-10912           78-11004             78-11988           79-04162   79-04216
78-10867        78-10913           78-11006             78-11990           79-04163   79-04217

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                                                 EXHIBIT B
                                            Non-Permittee Objections


     79-04219        79-04313           79-04359             79-10483           79-10524   79-10624
     79-04229        79-04315           79-04360             79-10484           79-10528   79-10625
     79-04230        79-04316           79-04361             79-10485           79-10529   79-10627
     79-04231        79-04317           79-04362             79-10486           79-10530   79-10629
     79-04232        79-04318           79-04363             79-10487           79-10531   79-10651
     79-04234        79-04319           79-04365             79-10488           79-10537   79-10652
     79-04235        79-04321           79-04366             79-10489           79-10538   79-10653
     79-04236        79-04322           79-04378             79-10490           79-10539   79-10654
     79-04237        79-04324           79-04379             79-10491           79-10540   79-10655
     79-04238        79-04325           79-04380             79-10492           79-10542   79-10657
     79-04239        79-04327           79-04381             79-10493           79-10543   79-10658
     79-04240        79-04328           79-04382             79-10494           79-10544   79-10659
     79-04243        79-04329           79-04413             79-10495           79-10545   79-10660
     79-04244        79-04330           79-04414             79-10497           79-10546   79-10661
     79-04272        79-04332           79-04415             79-10498           79-10547   79-10662
     79-04274        79-04333           79-04417             79-10499           79-10548   79-10663
     79-04275        79-04334           79-04421             79-10500           79-10549   79-10664
     79-04276        79-04335           79-07146             79-10501           79-10550   79-10665
     79-04277        79-04336           79-07148             79-10502           79-10551   79-10666
     79-04278        79-04337           79-10438             79-10503           79-10552   79-10667
     79-04279        79-04338           79-10439             79-10504           79-10553   79-10668
     79-04280        79-04339           79-10440             79-10505           79-10554   79-10669
     79-04281        79-04340           79-10441             79-10506           79-10555   79-10670
     79-04282        79-04341           79-10442             79-10507           79-10556   79-10671
     79-04283        79-04342           79-10443             79-10508           79-10557   79-10672
     79-04291        79-04343           79-10444             79-10509           79-10558   79-10673
     79-04292        79-04344           79-10445             79-10510           79-10559   79-10674
     79-04294        79-04345           79-10446             79-10511           79-10563   79-10677
     79-04296        79-04346           79-10447             79-10512           79-10568   79-10678
     79-04297        79-04347           79-10448             79-10513           79-10569   79-10679
     79-04298        79-04348           79-10449             79-10514           79-10571   79-10680
     79-04299        79-04350           79-10450             79-10515           79-10572   79-10683
     79-04301        79-04351           79-10451             79-10516           79-10573   79-10684
     79-04302        79-04352           79-10452             79-10517           79-10575   79-10692
     79-04303        79-04353           79-10454             79-10518           79-10577   79-10695
     79-04305        79-04354           79-10455             79-10519           79-10609   79-10700
     79-04306        79-04355           79-10456             79-10520           79-10611   79-10701
     79-04308        79-04356           79-10457             79-10521           79-10612   79-10702
     79-04309        79-04357           79-10458             79-10522           79-10613   79-10703
     79-04310        79-04358           79-10459             79-10523           79-10618   79-10704

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                                                EXHIBIT B
                                           Non-Permittee Objections


    79-10705        79-11018           79-11070             79-11115           79-11189   79-11256
    79-10706        79-11019           79-11071             79-11120           79-11190   79-11257
    79-10707        79-11020           79-11072             79-11122           79-11191   79-11258
    79-10708        79-11021           79-11073             79-11125           79-11193   79-11259
    79-10714        79-11022           79-11074             79-11135           79-11195   79-11260
    79-10715        79-11023           79-11075             79-11138           79-11196   79-11261
    79-10716        79-11024           79-11076             79-11139           79-11199   79-11262
    79-10719        79-11025           79-11077             79-11140           79-11200   79-11263
    79-10720        79-11026           79-11078             79-11143           79-11201   79-11265
    79-10722        79-11027           79-11079             79-11144           79-11202   79-11266
    79-10985        79-11028           79-11080             79-11148           79-11203   79-11267
    79-10986        79-11030           79-11081             79-11150           79-11204   79-11269
    79-10987        79-11032           79-11082             79-11151           79-11205   79-11270
    79-10988        79-11033           79-11083             79-11152           79-11207   79-11271
    79-10989        79-11034           79-11086             79-11153           79-11208   79-11272
    79-10991        79-11035           79-11087             79-11154           79-11209   79-11273
    79-10992        79-11037           79-11088             79-11155           79-11211   79-11274
    79-10993        79-11039           79-11089             79-11156           79-11212   79-11275
    79-10994        79-11040           79-11090             79-11157           79-11213   79-11276
    79-10995        79-11041           79-11091             79-11158           79-11216   79-11277
    79-10996        79-11042           79-11092             79-11160           79-11217   79-11278
    79-10997        79-11043           79-11093             79-11163           79-11221   79-11279
    79-10998        79-11044           79-11094             79-11164           79-11223   79-11280
    79-10999        79-11047           79-11095             79-11165           79-11224   79-11281
    79-11000        79-11048           79-11096             79-11167           79-11225   79-11282
    79-11001        79-11049           79-11097             79-11168           79-11226   79-11283
    79-11002        79-11050           79-11098             79-11169           79-11227   79-11284
    79-11003        79-11051           79-11099             79-11170           79-11231   79-11285
    79-11004        79-11052           79-11100             79-11172           79-11239   79-11286
    79-11006        79-11053           79-11101             79-11178           79-11240   79-11287
    79-11007        79-11054           79-11102             79-11179           79-11241   79-11288
    79-11008        79-11055           79-11104             79-11180           79-11242   79-11291
    79-11009        79-11056           79-11105             79-11181           79-11243   79-11295
    79-11011        79-11059           79-11106             79-11182           79-11244   79-11299
    79-11012        79-11061           79-11107             79-11183           79-11245   79-11303
    79-11013        79-11062           79-11108             79-11184           79-11246   79-11304
    79-11014        79-11063           79-11109             79-11185           79-11247   79-11307
    79-11015        79-11064           79-11110             79-11186           79-11248   79-11310
    79-11016        79-11065           79-11111             79-11187           79-11249   79-11311
    79-11017        79-11067           79-11114             79-11188           79-11250   79-11312

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                                                    EXHIBITB
                                               Non-Pennittee Objections


        79-11313        79-11370           79-11442             79-11496           79-11547   79-11590
        79-11314        79-11372           79-11444             79-11497           79-11548   79-11591
        79-11315        79-11373           79-11445             79-11498           79-11549   79-11592
        79-11316        79-11374           79-11446             79-11501           79-11550   79-11593
        79-11317        79-11376           79-11447             79-11502           79-11551   79-11598
        79-11318        79-11377           79-11448             79-11503           79-11552   79-11600
        79-11319        79-11378           79-11449             79-11504           79-11553   79-11601
        79-11320        79-11379           79-11450             79-11506           79-11554   79-11603
        79-11321        79-11380           79-11451             79-11507           79-11555   79-11605
        79-11322        79-11383           79-11452             79-11508           79-11556   79-11608
        79-11323        79-11385           79-11453             79-11509           79-11557   79-11610
        79-11324        79-11386 .         79-11454             79-11510           79-11558   79-11612
        79-11325        79-11387           79-11455             79-11511           79-11560   79-11614
        79-11326        79-11388           79-11456             79-11512           79-11561   79-11616
        79-11327        79-11389           79-11457             79-11513           79-11562   79-11618
        79-11328        79-11391           79-11458             79-11516           79-11563   79-11620
        79-11331        79-11405           79-11459             79-11517           79-11564   79-11622
        79-11332        79-11408           79-11466             79-11518           79-11565   79-11624
        79-11334        79-11409           79-11467             79-11521           79-11566   79-11626
        79-11337        79-11410           79-11468             79-11523           79-11567   79-11628
        79-11338        79-11412           79-11469             79-11524           79-11568   79-11630
        79-11339        79-11414           79-11471             79-11525           79-11569   79-11632
        79-11340        79-11419           79-11473             79-11527           79-11571   79-11634
        79-11341        79-11420           79-11475             79-11528           79-11572   79-11636
        79-11342        79-11421           79-11476             79-11529           79-11573   79-11638
        79-11345        79-11422           79-11477             79-11531           79-11574   79-11640
        79-11346        79-11423           79-11480             79-11532           79-11575   79-11642
        79-11348        79-11424           79-11481             79-11533           79-11576   79-11644
        79-11351        79-11425           79-11482             79-11534           79-11577   79-11648
        79-11352        79-11427           79-11483             79-11535           79-11578   79-11650
        79-11354        79-11428           79-11485             79-11536           79-11579   79-11652
        79-11356        79-11429           79-11487             79-11537           79-11580   79-11654
        79-11357        79-11430           79-11488             79-11538           79-11581   79-11656
        79-11358        79-11431           79-11489             79-11539           79-11582   79-11658
        79-11363        79-11432           79-11490             79-11540           79-11583   79-11661
        79-11364        79-11434           79-11491             79-11541           79-11584   79-11662
        79-11365        79-11436           79-11492             79-11542           79-11585   79-11664
        79-11367        79-11439           79-11493             79-11543           79-11586   79-11666
        79-11368        79-11440           79-11494             79-11544           79-11587   79-11667
        79-11369        79-11441           79-11495             79-11545           79-11589   79-11668

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                                                EXHIBITB
                                           Non-Pennittee Objections


    79-11669        79-11744           79-13652             81-10359           81-11822   82-10291
    79-11670        79-11745           79-13653             81-10367           81-11823   82-10292
    79-11671        79-11746           79-13654             81-10368           81-11824   82-10293
    79-11673        79-11749           79-13655             81-10369           81-11825   82-10294
    79-11677        79-11751           79-13656             81-10370           81-11826   82-10295
    79-11678        79-11753           79-13657             81-10372           81-11827   82-10296
    79-11679        79-11754           79-13658             81-10373           81-11828   82-10297
    79-11681        79-11755           79-13659             81-10374           81-11829   82-10298
    79-11683        79-11756           79-13660             81-10375           81-11830   82-10299
    79-11685        79-11760           79-13661             81-10376           81-11831   82-10300
    79-11689        79-11761           79-13663             81-10377           81-11835   82-10301
    79-11691        79-11762           79-13664             81-10378           81-11836   82-10303
    79-11693        79-11763           79-13667             81-10379           81-11837   82-10304
    79-11694        79-11764           79-13679             81-10380           81-11838   82-10305
    79-11696        79-11767           79-13681             81-10381           81-11840   82-10306
    79-11698        79-11768           79-13682             81-10382           81-11841   82-10307
    79-11700        79-11770           79-13683             81-10388           81-11842   82-10308
    79-11702        79-11771           79-13684             81-10390           81-11843   82-10309
    79-11704        79-11772           79-13685             81-10392           81-11844   82-10310
    79-11706        79-11773           79-13686             81-10411           81-11847   82-10311
    79-11707        79-11774           79-13687             81-10413           81-11848   82-10312
    79-11708        79-11779           79-13688             81-10417           81-11849   82-10313
    79-11709        79-11780           79-13689             81-10447           81-11850   82-10314
    79-11711        79-11782           79-13691             81-10448           81-11851   82-10315
    79-11712        79-11783           79-13692             81-10451           81-11853   82-10316
    79-11714        79-11784           79-13693             81-10453                      82-10317
    79-11716        79-13634           79-13694             81-10457           B82        82-10319
    79-11718        79-13635           79-13695             81-10458           82-04059   82-10326
    79-11720        79-13636                                81-10459           82-04065   82-10347
    79-11722        79-13637           B81                  81-10524           82-04066   82-10355
    79-11724        79-13639           81-10340             81-11810           82-04069   82-10358
    79-11726        79-13640           81-10341             81-11811           82-04070   82-10359
    79-11728        79-13641           81-10342             81-11812           82-04071   82-10366
    79-11730        79-13644           81-10343             81-11813           82-04073   82-10367
    79-11734        79-13645           81-10346             81-11814           82-04075   82-10369
    79-11736        79-13646           81-10347             81-11815           82-10277   82-10370
    79-11737        79-13647           81-10350             81-11816           82-10287   82-10371
    79-11738        79-13648           81-10351             81-11817           82-10288   82-10372
    79-11741        79-13649           81-10355             81-11818           82-10289   82-10373
    79-11742        79-13651           81-10356             81-11821           82-10290   82-10374

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                                                EXHIBIT B
                                           Non-Permittee Objections


    82-10375        82-10433           82-10528             82-10571           82-10612   82-10653
    82-10377        82-10434           82-10529             82-10572           82-10614   82-10654
    82-10378        82-10436           82-10530             82-10573           82-10615   82-10655
    82-10379        82-10437           82-10531             82-10574           82-10616   82-10656
    82-10381        82-10438           82-10532             82-10575           82-10617   82-10657
    82-10383        82-10439           82-10533             82-10576           82-10618   82-10658
    82-10384        82-10440           82-10537             82-10577           82-10619   82-10659
    82-10385        82-10441           82-10538             82-10578           82-10620   82-10660
    82-10386        82-10442           82-10539             82-10579           82-10621   82-10661
    82-10387        82-10443           82-10540             82-10580           82-10622   82-10662
    82-10391        82-10447           82-10541             82-10581           82-10623   82-10663
    82-10392        82-10448           82-10542             82-10582           82-10624   82-10664
    82-10393        82-10449           82-10543             82-10583           82-10625   82-10665
    82-10395        82-10450           82-10544             82-10584           82-10626   82-10666
    82-10396        82-10452           82-10545             82-10585           82-10627   82-10667
    82-10397        82-10453           82-10546             82-10586           82-10628   82-10668
    82-10400        82-10454           82-10547             82-10587           82-10629   82-10669
    82-10401        82-10455           82-10548             82-10589           82-10630   82-10670
    82-10402        82-10456           82-10549             82-10590           82-10631   82-10671
    82-10403        82-10457           82-10550             82-10591           82-10632   82-10672
    82-10406        82-10459           82-10551             82-10592           82-10633   82-10674
    82-10410        82-10460           82-10552             82-10593           82-10634   82-10675
    82-10411        82-10461           82-10553             82-10594           82-10635   82-10676
    82-10412        82-10462           82-10554             82-10595           82-10636   82-10677
    82-10414        82-10468           82-10555             82-10596           82-10637   82-10678
    82-10415        82-10469           82-10556             82-10597           82-10638   82-10679
    82-10417        82-10470           82-10557             82-10598           82-10639   82-10680
    82-10419        82-10471           82-10558             82-10599           82-10640   82-10681
    82-10420        82-10472           82-10559             82-10600           82-10641   82-10682
    82-10421        82-10473           82-10560             82-10601           82-10642   82-10683
    82-10422        82-10474           82-10561             82-10602           82-10643   82-10684
    82-10423        82-10475           82-10562             82-10603           82-10644   82-10685
    82-10424        82-10476           82-10563             82-10604           82-10645   82-10686
    82-10425        82-10477           82-10564             82-10605           82-10646   82-10687
    82-10426        82-10478           82-10565             82-10606           82-10647   82-10688
    82-10428        82-10479           82-10566             82-10607           82-10648   82-10689
    82-10429        82-10480           82-10567             82-10608           82-10649   82-10690
    82-10430        82-10481           82-10568             82-10609           82-10650   82-10691
    82-10431        82-10482           82-10569             82-10610           82-10651   82-10692
    82-10432        82-10527           82-10570             82-10611           82-10652   82-10693

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                                                                                    ...,,
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                                                     EXHIBIT B
                                                Non-Permittee Objections


         82-10694        82-10740           82-10782             82-10825            82-10865   82-10905
         82-10695        82-10741           82-10783             82-10826            82-10866   82-10906
         82-10696        82-10742           82-10784             82-10827            82-10867   82-10907
         82-10697        82-10743           82-10785             82-10828            82-10868   82-10908
         82-10698        82-10744           82-10786             82-10829            82-10869   82-10909
         82-10699        82-10745           82-10787             82-10830            82-10870   82-10910
         82-10700        82-10746           82-10788             82-10831            82-10871   82-10911
         82-10701        82-10747           82-10789             82-10832            82-10872   82-10912
         82-10702        82-10748           82-10792             82-10833            82-10873   82-10913
         82-10703        82-10749           82-10793             82-10834            82-10874   82-10914
         82-10704        82-10750           82-10794             82-10835            82-10875   82-10915
         82-10705        82-10751           82-10795             82-10836            82-10876   82-10916
         82-10707        82-10752           82-10796             82-10837            82-10877   82-10917
         82-10708        82-10753           82-10798             82-10838            82-10878   82-10918
         82-10709        82-10754           82-10799             82-10839            82-10879   82-10919
         82-10710        82-10755           82-10800             82-10840            82-10880   82-10920
         82-10711        82-10756           82-10801             82-10841            82-10881   82-10923
         82-10713        82-10757           82-10802             82-10842            82-10882   82-10924
         82-10714        82-10758           82-10803             82-10843            82-10883   82-10925
         82-10715        82-10759           82-10804             82-10844            82-10884   82-10926
         82-10716        82-10760           82-10805             82-10845            82-10885   82-10927
         82-10717        82-10761           82-10806             82-10846            82-10886   82-10928
         82-10718        82-10762           82-10807             82-10847            82-10887   82-10929
         82-10719        82-10764           82-10808             82-10848            82-10888   82-10930
         82-10720        82-10765           82-10809             82-10849            82-10889   82-10931
         82-10722        82-10766           82-10810             82-10850            82-10890   82-10932
         82-10723        82-10767           82-10811             82-10851            82-10891   82-10933
         82-10726        82-10768           82-10812             82-10852            82-10892   82-10934
         82-10727        82-10769           82-10813             82-10853            82-10893   82-10935
         82-10729        82-10770           82-10814             82-10854            82-10894   82-10936
         82-10730        82-10771           82-10815             82-10855            82-10895   82-10937
         82-10731        82-10772           82-10816             82-10856            82-10896   82-10938
         82-10732        82-10773           82-10817             82-10857            82-10897   82-10939
         82-10733        82-10774           82-10818             82-10858            82-10898   82-10940
         82-10734        82-10775           82-10819             82-10859            82-10899   82-10941
         82-10735        82-10776           82-10820             82-10860            82-10900   82-10942
         82-10736        82-10778           82-10821             82-10861            82-10901   82-11979
         82-10737        82-10779           82-10822             82-10862            82-10902   82-11980
         82-10738        82-10780           82-10823             82-10863            82-10903   82-11981
         82-10739        82-10781           82-10824             82-10864            82-10904   82-11982

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                                                         EXHIBIT B
                                                    Non-Permittee Objections


             82-11983        83-10198           83-10336             83-10418           83-10518   83-10604
             82-11984        83-10202           83-10338             83-10420           83-10520   83-10606
             82-11985        83-10210           83-10340             83-10422           83-10522   83-10608
             82-11986        83-10211           83-10342             83-10424           83-10524   83-10610
             82-11987        83-10214           83-10344             83-10426           83-10526   83-10612
             82-11988        83-10226           83-10346             83-10428           83-10528   83-10614
             82-11990        83-10266           83-10348             83-10430           83-10530   83-10616
             82-11991        83-10268           83-10350             83-10432           83-10532   83-10618
             82-11992        83-10270           83-10352             83-10434           83-10534   83-10620
             82-11993        83-10272           83-10354             83-10436           83-10536   83-10622
             82-11994        83-10274           83-10356             83-10438           83-10538   83-10624
             82-11995        83-10276           83-10358             83-10440           83-10540   83-10626
             82-11996        83-10278           83-10360             83-10442           83-10542   83-10628
             82-11997        83-10280           83-10364             83-10448           83-10544   83-10630
             82-11998        83-10282           83-10366             83-10452           83-10546   83-10632
             82-12000        83-10284           83-10368             83-10454           83-10548   83-10634
             82-12001        83-10286           83-10370             83-10458           83-10550   83-10636
             82-12002        83-10288           83-10372             83-10460           83-10552   83-10638
             82-12004        83-10290           83-10374             83-10462           83-10554   83-10640
             82-12006        83-10292           83-10376             83-10464           83-10556   83-10642
                             83-10294           83-10378             83-10466           83-10558   83-10644
             B83             83-10296           83-10380             83-10472           83-10560   83-10646
             83-04045        83-10298           83-10382             83-10474           83-10562   83-10648
             83-04049        83-10300           83-10384             83-10476           83-10564   83-10650
             83-04051        83-10304           83-10386             83-10482           83-10566   83-10652
             83-04059        83-10306           83-10388             83-10484           83-10568   83-10654
             83-10155        83-10308           83-10390             83-10486           83-10570   83-10656
             83-10156        83-10310           83-10392             83-10488           83-10572   83-10658
             83-10157        83-10312           83-10394             83-10490           83-10574   83-10662
             83-10158        83-10314           83-10396             83-10492           83-10576   83-10664
             83-10159        83-10316           83-10398             83-10494           83-10578   83-10666
             83-10167        83-10318           83-10400             83-10496           83-10580   83-10668
             83-10169        83-10320           83-10402             83-10498           83-10584   83-10670
             83-10181        83-10322           83-10404             83-10502           83-10586   83-10672
             83-10182        83-10324           83-10406             83-10506           83-10590   83-10674
             83-10188        83-10326           83-10408             83-10508           83-10592   83-10676
             83-10189        83-10328           83-10410             83-10510           83-10594   83-10680
             83-10194        83-10330           83-10412             83-10512           83-10596   83-10682
             83-10195        83-10332           83-10414             83-10514           83-10598   83-10684
             83-10196        83-10334           83-10416             83-10516           83-10600   83-10686

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                                                     EXHIBITB
                                                Non-Permittee Objections


         83-10688        83-10770           84-10872             84-11986           84-12029   85-11826
         83-10690        83-10773           84-10873             84-11988           84-12030   85-11827
         83-10694        83-10774           84-11910             84-11989           84-12031   85-11828
         83-10696        83-10775           84-11911             84-11990           84-12032   85-11829
         83-10698        83-10776           84-11912             84-11991           84-12033   85-11831
         83-10700        83-10777           84-11913             84-11992           84-12034   85-11832
         83-10702        83-10778           84-11914             84-11993           84-12035   85-11834
         83-10704        83-10779           84-11915             84-11994           84-12036   85-11835
         83-10706        83-10780           84-11920             84-11995           84-12037   85-11836
         83-10708        83-10781           84-11922             84-11996           84-12038   85-11837
         83-10710        83-10782           84-11923             84-11997           84-12040   85-11838
         83-10712        83-10783           84-11924             84-11998           84-12043   85-11839
         83-10714        83-10784           84-11925             84-11999           84-12044   85-11840
         83-10716        83-10785           84-11928             84-12000           84-12045   85-11841
         83-10718        83-11879           84-11934             84-12001           84-12046   85-11842
         83-10720        83-11903           84-11936             84-12002           84-12047   85-11845
         83-10722        83-11904           84-11938             84-12003           84-12048   85-11846
         83-10724        83-11907           84-11940             84-12004           84-12049   85-11847
         83-10726        83-11909           84-11942             84-12005           84-12050   85-11849
         83-10728        83-11910           84-11944             84-12006           84-12051   85-11851
         83-10730        83-11911           84-11946             84-12007           84-12052   85-11852
         83-10732        83-11912           84-11948             84-12008           84-12053   85-11853
         83-10734        83-11913           84-11952             84-12009           84-12057   85-11854
         83-10736        83-11915           84-11954             84-12010           84-12061   85-11855
         83-10738        83-11916           84-11956             84-12011           84-12063   85-11856
         83-10740        83-11917           84-11958             84-12012                      85-11857
         83-10742        83-11919           84-11971             84-12013           B85        85-11858
         83-10744        83-11920           84-11972             84-12015           85-11812   85-11859
         83-10746        83-11921           84-11973             84-12016           85-11813   85-11860
         83-10748                           84-11974             84-12017           85-11814   85-11861
         83-10750        B84                84-11976             84-12018           85-11815   85-11862
         83-10752        84-10862           84-11977             84-12019           85-11816   85-11863
         83-10754        84-10863           84-11978             84-12020           85-11817   85-11864
         83-10756        84-10864           84-11979             84-12021           85-11818   85-11865
         83-10758        84-10865           84-11980             84-12022           85-11820   85-11866
         83-10760        84-10867           84-11981             84-12024           85-11821   85-11867
         83-10762        84-10868           84-11982             84-12025           85-11822   85-11868
         83-10764        84-10869           84-11983             84-12026           85-11823   85-11869
         83-10766        84-10870           84-11984             84-12027           85-11824   85-11870
         83-10768        84-10871           84-11985             84-12028           85-11825   85-11871

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                                            EXHIBIT B
                                       Non-Permittee Objections


85-11872        85-11964           85-12006             85-12050           85-12109   85-12162
85-11873        85-11965           85-12007             85-12051           85-12110   85-12164
85-11874        85-11966           85-12008             85-12052           85-12111   85-12165
85-11875        85-11967           85-12009             85-12055           85-12112   85-12167
85-11876        85-11968           85-12010             85-12056           85-12113   85-12168
85-11877        85-11969           85-12011             85-12057           85-12114   85-12169
85-11878        85-11970           85-12012             85-12058           85-12115   85-12170
85-11879        85-11971           85-12013             85-12059           85-12117   85-12171
85-11880        85-11972           85-12014             85-12060           85-12118   85-12172
85-11881        85-11973           85-12015             85-12061           85-12119   85-12173
85-11882        85-11974           85-12016             85-12064           85-12120   85-12174
85-11883        85-11975           85-12017             85-12065           85-12126   85-12175
85-11884        85-11976           85-12018             85-12066           85-12127   85-12176
85-11885        85-11977           85-12020             85-12067           85-12128   85-12177
85-11886        85-11978           85-12021             85-12068           85-12129   85-12178
85-11920        85-11979           85-12022             85-12069           85-12130   85-12180
85-11924        85-11980           85-12023             85-12070           85-12131   85-12181
85-11928        85-11982           85-12024             85-12071           85-12132   85-12182
85-11930        85-11983           85-12025             85-12072           85-12133   85-15209
85-11932        85-11984           85-12026             85-12074           85-12134   85-15210
85-11934        85-11985           85-12027             85-12075           85-12135   85-15211
85-11936        85-11986           85-12028             85-12076           85-12137   85-15212
85-11938        85-11987           85-12029             85-12077           85-12138   85-15213
85-11940        85-11988           85-12030             85-12078           85-12141   85-15214
85-11942        85-11989           85-12031             85-12085           85-12143   85-15215
85-11944        85-11990           85-12032             85-12086           85-12145   85-15216
85-11946        85-11991           85-12033             85-12087           85-12146   85-15217
85-11950        85-11992           85-12034             85-12088           85-12147   85-15218
85-11951        85-11993           85-12035             85-12089           85-12148   85-15219
85-11952        85-11994           85-12036             85-12091           85-12149   85-15220
85-11953        85-11995           85-12037             85-12094           85-12150   85-15221
85-11954        85-11996           85-12038             85-12096           85-12152   85-15222
85-11955        85-11997           85-12040             85-12097           85-12153   85-15223
85-11956        85-11998           85-12041             85-12101           85-12154   85-15224
85-11957        85-11999           85-12042             85-12102           85-12155   85-15225
85-11958        85-12000           85-12043             85-12103           85-12156   85-15226
85-11959        85-12001           85-12045             85-12104           85-12157   85-15227
85-11960        85-12002           85-12046             85-12105           85-12158   85-15228
85-11962        85-12003           85-12047             85-12106           85-12160   85-15229
85-11963        85-12004           85-12049             85-12107           85-12161   85-15230

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                                                         EXHIBIT B
                                                    Non-Permittee Objections


             85-15231        86-10742           86-10856
             85-15232        86-10743           86-10858
             85-15233        86-10744           86-10859
             85-15234        86-10745           86-10860
             85-15235        86-10746           86-11784
             85-15236        86-10747           86-11785
             85-15237        86-10748           86-11786
             85-15238        86-10750           86-11787
             85-15239        86-10756           86-11788
             85-15240        86-10757           86-11790
             85-15241        86-10758
             85-15242        86-10759
             85-15244        86-10760
             85-15245        86-10761
             85-15246        86-10762
             85-15247        86-10763
             85-15248        86-10807
             85-15249        86-10808
             85-15250        86-10810
             85-15251        86-10815
             85-15252        86-10816
             85-15253        86-10822
             85-15254        86-10823
             85-15255        86-10824
             85-15256        86-10825
             85-15258        86-10826
             85-15259        86-10827
             85-15260        86-10828
             85-15261        86-10829
             85-15264        86-10831
             85-15265        86-10832
             85-15266        86-10833
             85-15267        86-10834
                             86-10841
             B86             86-10843
             86-04096        86-10850
             86-04097        86-10851
             86-04099        86-10852
             86-04100        86-10854
             86-04106        86-10855

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                                                         EXHIBIT C
                                            Permittees' Set-Aside Motions Pending


            45-02800 BLM                          45-12277 USFS                        47-15014   USFS
            45-02804 BLM                          45-12281 USFS                        47-15016   USFS
            45-02805 BLM                          45-12282 USFS                        47-15017   USFS
            45-04134 BLM                          45-12283 USFS                        47-15018   USFS
            45-04136 BLM                          45-12284 USFS                        47-15021   USFS
            45-12069 USFS                         45-12285 USFS                        47-15022   USFS
            45-12110 USFS                         45-12286 USFS                        47-15029   USPS
            45-12118 USFS                         45-12287 USFS                        47-15030   USPS
            45-12119USFS                          45-12288 USFS                        47-15036   USFS
            45-12129 USFS                         45-12292 USFS                        47-16670   USFS
            45-12131 USFS                         45-12293 USFS                        47-16689   USFS
            45-12176 USFS                         45-12294 USFS                        47-16690   USPS
            45-12177 USFS                         45-12295 USFS                        47-16691   USFS
            45-12178 USFS                         45-12296 USFS                        47-16712   USFS
            45-12179 USFS                         45-12297 USFS                        47-16723   USFS
            45-12182 USFS                         45-12298 USFS
            45-12220 USFS                         45-12299 USFS
            45-12221 USFS                         45-12300 USFS
            45-12222 USFS                         45-12668 BLM
            45-12224 USFS                         45-12805 BLM
            45-12226 USFS                         45-12844 USFS
            45-12227 USFS                         45-12852 USFS
            45-12230 USFS                         45-12853 USFS
            45-12231 USFS                         45-12854 USFS
            45-12232 USFS                         45-12858 USFS
            45-12237 USFS                         45-12859 USFS
            45-12238 USFS                         45-12862 USFS
            45-12245 USFS                         45-12868 USFS
            45-12246 USFS                         47-02594 BLM
            45-12247 USFS                         47-02632 BLM
            45-12256 USFS                         47-07596 USFS
            45-12263 USFS                         47-07597 USFS
            45-12264 USFS                         47-07598 USFS
            45-12267 USFS                         47-07602 USFS
            45-12269 USFS                         47-08030 USFS
            45-12270 USFS                         47-08051 USFS
            45-12271 USFS                         47-14996 USFS
            45-12273 USFS                         47-14998 USFS
            45-12274 USFS                         47-15012 USFS
            45-12275 USFS                         47-15013 USFS

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                                                       EXHIBITD
                                                  U.S. Unreported Claims



          37-20293 BLM
          37-20294 BLM
          37-20295 BLM
          37-20302 BLM
          37-20305 BLM
          37-20306 BLM
          37-20308 BLM
          37-20309 BLM
          37-20310 BLM
          37-20311 BLM
          37-20312 BLM
          37-20313 BLM

          45-07387 USFS
          45-07388 USFS
          45-07390 USFS
          45-07396 USFS
          45-07569 USFS
          45-07593 USFS
          45-12920 BLM
          45-12921 BLM
          45-12922 BLM
          45-12923 BLM
          45-12924 BLM
          45-12926 BLM
          45-13483 BLM
          45-12484 BLM

          47-00060B BLM




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                                                      EXHIBITE
                                              Permittees' Reported Claims



         37-10606 Faulkner Land and Livestock Company, Diamond A Livestock Inc.

         45-10332 Winslow Whiteley, Bruce Bedke, Gary Russel Poulton, Ray C. Bedke

         47-14923A Winslow Whiteley, Bruce Bedke, Gary Russel Poulton, Ray C. Bedke
         47-14923B Winslow Whiteley, Bruce Bedke, Gary Russel Poulton, Ray C. Bedke
         47-14923C Winslow Whiteley, Bruce Bedke, Gary Russel Poulton, Ray C. Bedke
         47-14923D Winslow Whiteley, Bruce Bedke, Gary Russel Poulton, Ray C. Bedke
         47-14923£ Winslow Whiteley, Bruce Bedke, Gary Russel Poulton, Ray C. Bedke

         47-14945 Pickett Ranch and Sheep Company

         47-12383 Western Stockgrowers Association et al.
         47-16728 Western Stockgrowers Association et al.
         47-16729 Western Stockgrowers Association et al.
         47-16730 Western Stockgrowers Association et al.
         47-16731 Western Stockgrowers Association et al.
         47-16732 Western Stockgrowers Association et al.
         47-16733 Western Stockgrowers Association et al.
         47-16734 Western Stockgrowers Association et al.
         47-16735 Western Stockgrowers Association et al.
         47-16736 Western Stockgrowers Association et al.
         47-16737 Western Stockgrowers Association et al.
         47-16738 Western Stockgrowers Association et al.
         47-16739 Western Stockgrowers Association et al.
         47-16740 Western Stockgrowers Association et al.
         47-167 41 Western Stockgrowers Association et al.
         47-16742 Western Stockgrowers Association et al.
         47-16743 Western Stockgrowers Association et al.
         47-16744 Western Stockgrowers Association et al.
         47-16745 Western Stockgrowers Association et al.
         47-16746 Western Stockgrowers Association et al.
         4 7-1674 7 Western Stockgrowers Association et al.
         4 7-167 48 Western Stockgrowers Association et al.
         4 7-167 49 Western Stockgrowers Association et al.
         47-16750 Western Stockgrowers Association et al.
         47-16752 Western Stockgrowers Association et al.
         47-16753 Western Stockgrowers Association et al.


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                                                  EXHIBITE
                                          Permittees' Reported Claims



     67-11043 James Eckhardt
     67-11045 James Eckhardt
     67-11059 James Eckhardt

     67-14083 Weldon Branch

     69-10049 Lawrence Ranch Inc.

     78-10002 Lester Lowe/Todd Bowen

     78-10338 Shingle Creek LLC
     78-10339 Shingle Creek LLC
     78-10340 Shingle Creek LLC




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                                                     EXHIBIT F
                                           Perrnittees' Unreported Claims


     Bedke

         Basin Number       Seguence Number
                45                  634
                45                  678
                45                 4050
                45                10325
                45                10327
                45                10329
                45                10330
                45                10331
                45                10332
                45                10333
                45                10334
                45                10335
                45                10336
                45                10492
                45                10500
                45                10505
                45                10507
                45                10508
                45                10784
                45                10791
                45                10792
                45                10793
                45                10794
                45                12765
                45                12766
                45                12767
                45                12891
                45                12910
                47                14924

     Branch

         Basin Number       Seguence Numb;r
                67                 7302


     Faulkner Land and Livestock

          Basin Number      Sequence Number
                37                 10597
                63                 15055


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                                                                EXHIBIT F
                                                       Pennittees' Unreported Claims



                  Flying Triangle

                      Basin Number Seguence Number
                            37                20404
                            37                20453
                            37                20454
                            37                20455
                            37                20456
                            37                20457
                            37                20458
                            37                20459
                            37                20460
                            37                20461
                            37                20462
                            37                20463
                            37                20465
                            37                20466
                            37                20467
                            37                20468
                            37                20469
                            37                20470
                            37                20471
                            37                20472
                            37                20474
                            37                20475
                            37                20476
                            37                20477
                            37                20478
                            37                20479
                            37                20480
                            37                20481
                            37                20482
                            37                20483
                            37                20484
                            37                20485
                            37                20486
                            37                20487
                            37                20488
                            37                20489




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                                                               EXHIBIT F
                                                      Permittees' Unreported Claims

                Picket Ranch & Sheep Co.

                     Basin Number       Seguence Numbsr
                          45                   2766
                          45                  10832
                          45                  10833
                          45                  10834
                          45                  10835
                          45                  10836
                          45                  12446
                          45                  12894
                          45                  14945
                          47                  10835

                Poulton

                     Basin Number       Seguence Numb;r
                          45                  152
                          45                 10325
                          45                 10327
                          45                 10329
                          45                 10330
                          45                 10331
                          45                 10334
                          45                 10335
                          45                 10336
                          45                 10338
                          45                 12747
                          45                 12893
                          47                 14924
                          63                 31225

                Shingle Creek LLC

                      Basin Number        Sequence Number
                            78                 12109
                            78                 12110
                            78                 12111
                            78                 12112
                            78                 12113
                            78                 12114
                            78                 12115
                            78                 12116




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                                                                EXHIBIT F
                                                       Pennittees' Unreported Claims

                  Shoulder 3 Ranch

                       Basin Number        Seguence Number
                              45                    152
                              45                   7335
                              45                  10352
                              45                  10353
                              45                  10354
                              45                  10355
                              45                  10356
                              45                  10357
                              45                  10358
                              45                  10359
                              45                  10454
                              45                  10471
                              45                  10474
                              45                  12751
                              45                  13488


                  Tugaw

                       Basin Number        Sequence Number
                              45                  12586
                              45                  12588
                              45                  12896
                              45                  12897
                              45                  12898
                              45                  12899
                              45                  12900
                              45                  12901
                              45                  12902
                              45                  12903
                              45                  12904
                              45                  12905




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                                                                   EXHIBIT F
                                                          Permittees' Umeported Claims

                  ·whiteley

                        Basin Number        Seguence Number           Sglit Suffix
                              45                     77                    w
                              45                     78                    p
                              45                     79                    Q
                              45                    2263
                              45                    2309
                              45                    2444
                              45                    2547
                              45                    2656
                              45                   10325
                              45                   10327
                              45                   10329
                              45                   10330
                              45                   10331
                              45                   10335
                              45                   10336
                              45                   10414
                              45                   10467
                              45                   10474
                              47                   14924

                  Winecup Inc.

                       Basin Number         Seguence Number
                              45                   10333
                              45                   10334
                              45                   13494




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                                            EXHIBIT G
                                  Permittees' Claims Yet to be Filed

Claimant                        Allotment/Source

A.L. Cattle                     Willow Ridge AMP (Dry Creek Pasture, George Way Pasture,
                                Power Line Pasture)
                                sources: the following creeks: Willow, Jakes, Coonrod, George
                                Way, Four Mile, Succor, and Rock.

                                Sheep Creek Allotment
                                source: South Fork Sheep Creek

                                Tommy Carr Allotment
                                source: one spnng

Flying Triangle                 Notch Butte Allotment




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